Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 1 of 69




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                             CASE NO.:

   PATRICK PICKNEY, Derivatively and on
   Behalf of ICAHN ENTERPIRSES, L.P.

          Plaintiff,
                                                     JURY TRIAL DEMANDED
                  v.

   ICAHN ENTERPRISES, G.P. INC., CARL
   C. ICAHN, DAVID WILLETTS, TED
   PAPAPOSTOLOU, KEITH COZZA,
   SUNGHWAN CHO, DENISE BARTON,
   ALVIN KRONGARD, BRETT ICAHN,
   STEPHEN MONGILLO, AND MICHAEL
   NEVIN

          Defendants,

                  and

   ICAHN ENTERPISES, L.P.,

          Nominal Defendant.


                       VERIFIED UNITHOLDER DERIVATIVE PETITION

         Plaintiff Patrick Pickney (“Plaintiff”), by Plaintiff’s undersigned attorneys, derivatively on

  behalf of Nominal Defendant Icahn Enterprises, L.P. (“Icahn Enterprises” or the “Company”),

  files this Unitholder Derivative Petition against Defendant Icahn Enterprises G.P. Inc. (“Icahn

  Enterprises GP”) and Defendants Carl C. Icahn (“Icahn”), David Willetts (“Willetts”), Ted

  Papapostolou (“Papapostolou”), Keith Cozza (“Cozza”), Sunghwan Cho (“Cho”), Denise Barton

  (“Barton”), Brett Icahn, (“Brett”), Alvin Krongard (“Krongard”), Stephen Mongillo (“Mongillo”),



                                                 -1-
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 2 of 69




  and Michael Nevin (“Nevin”), (collectively, the “Individual Defendants” and together with the

  Company, “Defendants”) for breaches of their fiduciary duties as directors and/or officers of Icahn

  Enterprises and Icahn Enterprises GP, unjust enrichment, waste of corporate assets, abuse of

  control, and gross mismanagement. As for Plaintiff’s petition against the Individual Defendants,

  Plaintiff alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s own

  acts, and information and belief as to all other matters, based upon, inter alia, the investigation

  conducted by and through his attorneys, which included, among other things, a review of the

  Defendants’ public documents, conference calls and announcements made by Defendants, United

  States Securities and Exchange Commission (“SEC”) filings, wire and press releases published by

  and regarding the Company, news reports, securities analysts’ reports and advisories about the

  Company, and information readily obtainable on the Internet. Plaintiff believes that substantial

  evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for

  discovery.

                                    NATURE OF THE ACTION

           1.    This is a shareholder (i.e., unitholder) derivative action that seeks to remedy

  wrongdoing committed by Icahn Enterprises’ officers and Icahn Enterprises GP’s directors

  between August 2, 2018, and May 9, 2023 (the “Relevant Period”), that caused damage to Icahn

  Enterprises.

           2.    Icahn Enterprises is a publicly traded Delaware master limited partnership formed

  in 1987 with its principal executive offices at 16690 Collins Avenue, PH-1 Sunny Isles Beach, FL

  33160.




                                                  -2-
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 3 of 69




         3.      Icahn Enterprises is a holding company that conducts no operations and owns

  multiple subsidiaries including, Icahn Enterprises Holdings L.P. (“Icahn Enterprises Holdings”)

  and Icahn Enterprises GP, (together with its consolidated subsidiaries, referred to as the “Operating

  Partnership”). The Company’s activities are primarily conducted through the Operating

  Partnership.

         4.      Icahn Enterprises owns subsidiaries engaged in the following businesses:

  investment, energy, automotive, food packaging, real estate, home fashion, and pharma.

         5.      Icahn Enterprises’ only significant asset is its approximate 99% limited partnership

  interest in Icahn Enterprises Holdings and its subsidiaries, which owns substantially all assets and

  liabilities and conducts the operations of Icahn Enterprises.

         6.      Icahn Enterprises GP, the Company’s general partner, performs all management

  functions for the Company and holds a 1% general partner interest in each of Icahn Enterprises

  and Icahn Enterprises Holdings and an approximate 1.99% general partner interest in Icahn

  Enterprises and Icahn Enterprises Holdings. The controlling shareholder of Icahn Enterprises,

  Defendant Icahn, currently beneficially owns approximately 85% of the Company’s outstanding

  common units as of February 22, 2023.

         7.      Icahn Enterprises GP has exclusive management powers over Icahn Enterprises.

  The shareholders of Icahn Enterprises GP, elect board members, who in turn select the board

  members of Icahn Enterprises. As such, the board of Icahn Enterprises GP has authority to bring




                                                  -3-
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 4 of 69




  suit on behalf of Icahn Enterprises. Therefore, any shareholder demand for action would be made

  against the board of Icahn Enterprises GP. 1

          8.      During the Relevant Period, the investing public was under a false impression of

  the Company’s business and prospects because the Individual Defendants made public statements

  on behalf of the Company or caused the Company to make statements, misrepresenting its current

  financial situation.

          9.      On May 2, 2023, Hindenburg Research published a report, entitled “Icahn

  Enterprises: The Corporate Raider Throwing Stones From His Own Glass House,” (“The Report”)

  alleging that Icahn Enterprises’ “last reported indicative year-end [net asset value] of $5.6 billion

  is inflated by at least 22%.” Furthermore, The Report asserted that Icahn Enterprises operates on

  a “ponzi-like economic structure” and “has been using money taken in from new investors to pay

  out dividends to old investors.”

          10.     This news caused the unit price of Icahn Enterprises to fall $10.06 per share, or

  20% to close at $40.36 per unit on May 2, 2023.

          11.     Then, on May 10, 2023, before the market opened, Icahn Enterprises filed its

  quarterly report on Form 10-Q, with the SEC for the period ending on March 31, 2023 (the “1Q23

  10-Q”) Therein, Icahn Enterprises stated that they were contacted by the U.S. Attorney’s office

  for the Southern District of New York seeking production of information relating to the Company,

  certain of its affiliates’ “corporate governance, capitalization, securities offerings, dividends,

  valuation, marketing materials, due diligence and other materials.” The Company claims it is


  1
   The Boards of Icahn Enterprises and Icahn Enterprises GP are comprised of the same members,
  and they perform all managerial responsibilities in their capacity as Board of Directors of Icahn
  Enterprises GP.


                                                  -4-
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 5 of 69




  “cooperating with the request and is “providing documents in response to the voluntary request for

  information.”

         12.      Upon this news, Icahn Enterprises’ unit price fell to $5.75 per share, or 15.1% to

  close at $32.22 per share on May 10, 2023.

         13.      During the Relevant Period, the Individual Defendants, in breach of their fiduciary

  duties, willfully or recklessly made and/or caused the Company to make false and misleading

  statements that failed to disclose the following material facts: (1) that the Company’s was

  artificially inflating its net asset value; (2) the Company was using money from new purchases of

  the Company’s units to pay the dividends to old investors in a “ponzi-like” scheme; (3) as a result,

  the Company would be subject to increased criminal and/or regulatory scrutiny; (4) consequently,

  Defendants’ positive statements about the Company’s business, operations, and prospects were

  materially misleading and/or lacked a reasonable basis; and (5) the Company failed to maintain

  internal controls

         14.      Thus, the Defendants’ positive statements about the Company’s business,

  operations, and prospects were materially misleading and/or lacked a reasonable basis.

         15.      The Individual Defendants’ breaches of fiduciary duty and other misconduct have

  subjected the Company, the Company’s controlling shareholder, the Company’s current Chief

  Executive Officer (“CEO”), the Company’s current Chief Financial Officer (“CFO”) the

  Company’s former CEO, and former CFO to: (1) two federal securities fraud class action lawsuits

  pending in the United States District Court for the Southern District of Florida (the “Securities

  Fraud Class Actions”); (2) the need to undertake internal investigations; (3) losses from the waste

  of corporate assets; and (4) losses due to the unjust enrichment of Individual Defendants who were



                                                 -5-
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 6 of 69




  improperly over-compensated by the Company, and will likely cost the Company going forward

  millions of dollars.

         16.     The Company has been substantially damaged as a result of the Individual

  Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.

         17.     In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

  most of whom are Icahn Enterprises GP’s current directors, of the collective engagement in fraud

  and misconduct by Icahn Enterprises GP’s directors, and of the substantial likelihood of the

  directors’ liability in this derivative action, and of their not being disinterested and/or independent

  directors, a majority of the Board of Directors of Icahn Enterprises GP (the “Board”) cannot

  consider a demand to commence litigation against themselves on behalf of the Company with the

  requisite level of disinterestedness and independence.

                                       JURISDICTION AND VENUE

         18.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

  Plaintiff’s claims raise a question pertaining to the claims made in the Securities Class Actions

  based on violations of the Securities and Exchange Act of 1934.

         19.     This derivative action is not a collusive action to confer jurisdiction on a court of

  the United States that it would not otherwise have.

         20.     This Court has jurisdiction over each Defendant named herein. Icahn Enterprises

  is a limited partnership that conducts business and maintains operations in the State of Florida.

  Each Individual Defendant has sufficient minimum contacts with the Southern District of Florida

  so as to render the exercise of jurisdiction by the Florida courts permissible under traditional

  notions of fair play and substantial justice.



                                                   -6-
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 7 of 69




         21.     Venue is proper in this Court because one or more of the Defendants either resides

  in or maintains its principal office in this District, and within Miami-Dade County, a substantial

  portion of the transactions and wrongs complained of herein, including the Defendants’ primary

  participation in the wrongful acts detailed herein and aiding and abetting the Individual

  Defendants’ breaches of their fiduciary duties owed to Icahn Enterprises common unitholders,

  occurred in this District and within this County, and Defendants have received substantial

  compensation in this District and County by doing business here and engaging in numerous

  activities that had an effect in this District and County.

                                               PARTIES

         Plaintiff

         22.     Plaintiff is a current unitholder of Icahn Enterprises common units. Plaintiff has

  continuously held Icahn Enterprises common units since he purchased them on April 18, 2013.

         Nominal Defendant Icahn Enterprises

         23.     Nominal Defendant Icahn Enterprises is a Delaware master limited partnership with

  its principal executive offices at 16690 Collins Avenue, PH-1 Sunny Isles Beach, Fl. 33160.

         24.     Icahn Enterprises holds an approximate 99% limited partner interest in, and

  consolidates, Icahn Enterprises Holdings and Icahn Enterprises GP which is indirectly owned and

  controlled by Defendant Icahn and owns a 1% general partner’s interest in each of Icahn

  Enterprises and Icahn Enterprises Holdings.

         25.     Icahn Enterprises common units trade on the NASDAQ Global Select Market under

  the ticker symbol “IEP.”




                                                   -7-
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 8 of 69




         Defendant Icahn Enterprises GP

         26.     Icahn Enterprises GP is the general partner of Icahn Enterprises Holdings and Icahn

  Enterprises.

         27.     Icahn Enterprises GP, owns a 1% general partner interest in both Icahn Enterprises

  and Icahn Enterprises holding as of December 31, 2022, representing an aggregate 1.99% general

  partner interests in both Icahn Enterprises Holding and Icahn Enterprises

         28.     Icahn Enterprises GP performs all management functions required by Icahn

  Enterprises.

         29.     Icahn Enterprises GP and Icahn Enterprises are governed by their respective

  partnership agreements. These agreements contain specific provisions for the allocation of net

  earnings and loss to each of the partners for purposes of maintaining the partner capital accounts.

  These agreements also provide for each partnership to be governed by the Board of Icahn

  Enterprises GP. Through these partnership agreements, Icahn Enterprises GP acts as the general

  partner of both Icahn Enterprises and Icahn Enterprises Holdings and thereby manages and

  operates the activities of Icahn Enterprises and the Operating Partnership.

         30.     Icahn Enterprises GP has reported that it anticipates that its activities will be limited

  to the management and operation of the partnerships. Neither Icahn Enterprises, nor the Operating

  Partnership directly employs any of the persons responsible for the management or operations of

  the partnerships, rather, these individuals are employed by Icahn Enterprises GP.

         31.     The Board of Directors of Icahn Enterprises GP has adopted the Code of Ethics and

  Business Conduct (“Code of Ethics”) which applies to all employees, directors, and officers of

  Icahn Enterprises, Icahn Enterprises GP, and Icahn Enterprises Holdings.



                                                   -8-
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 9 of 69




         32.      The Audit Committee of Icahn Enterprises GP is subject to the Charter of the Audit

  Committee of the Board of Directors of Icahn Enterprises G.P., Inc, (the “Charter”) which applies

  to the Audit Committee of Icahn Enterprises, and Icahn Enterprises GP.

         Defendant Icahn

         33.      Defendant Icahn has served as the controlling shareholder and Chairman of the

  Board since 1990. According to the Form 10-K filed with the SEC on February 24, 2023, for the

  fiscal year ended December 31, 2022 (the “2022 10-K”) as of February 22, 2023, Defendant Icahn

  beneficially owned 299,997,624 depository units, representing 84.9% ownership interest. Given

  that the price per Company unit at the close of trading on February 22, 2023, was $48.87 Icahn

  owned $14.6 billion worth of Company depository units as of that date.

         34.      For the fiscal year ended December 31, 2022, Defendant Icahn received, for his

  services to Icahn Enterprises subsidiaries, $15,544 in total compensation including $1 in salary

  and $15,543 in all other compensation. For the fiscal year ended December 31, 2021, Defendant

  Icahn for his services to Icahn Enterprises subsidiaries, received $14,637 in total compensation

  including $1 in salary and $14,636. For the fiscal year ended December 31, 2020, Defendant Icahn,

  for his services to the Company’s subsidiaries received $14,637 in total compensation including

  $1 in salary and $14,636 in all other compensation. For the fiscal year ended December 31, 2019,

  Defendant Icahn received $66,143 in total compensation including $1 in salary, and $66,142 in all

  other compensation. For the fiscal year ended December 31, 2018, Defendant Icahn received

  $66,143 in total compensation including $1 in salary and received $66,142 in all other

  compensation.




                                                 -9-
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 10 of 69




            35.    During the Relevant Period, while the Company’s stock price was artificially

   inflated and before the scheme was exposed, Defendant Icahn made the following sale of Company

   units:

                    Date            Number of Shares       Avg. Price/Share      Proceeds
               October 1, 2020         202,758                 $49.32           $10,000,024


            36.    The 2022 10-K stated the following about Defendant Icahn:

            Carl C. Icahn has served as Chairman of the Board and a director of Starfire
            Holding Corporation, a privately-held holding company, and Chairman of the
            Board and a director of various subsidiaries of Starfire Holding Corporation, since
            1984. Since August 2007, through his position as Chief Executive Officer of Icahn
            Capital LP, a wholly-owned subsidiary of Icahn Enterprises and certain related
            entities, Mr. Icahn’s principal occupation has been managing private investment
            funds, including Icahn Partners LP and Icahn Partners Master Fund LP. Since 1990,
            Mr. Icahn has been Chairman of the Board of Icahn Enterprises GP, the general
            partner of Icahn Enterprises. Mr. Icahn was previously: Chairman of the Board of
            Tropicana Entertainment Inc., a company that is primarily engaged in the business
            of owning and operating casinos and resorts, from 2010 until 2018; Chairman of
            the Board of CVR Refining, LP from 2013 to 2018; Chairman of the Board of CVR
            Energy, Inc., from 2012 to 2018; President and a member of the Executive
            Committee of XO Holdings, from 2011 to 2017, and Chairman of the Board of its
            predecessors, from 2003 to 2011; a director of Federal-Mogul LLC, a supplier of
            automotive powertrain and safety components, from 2007 to 2015, and the non-
            executive Chairman of the Board of Federal-Mogul LLC, from 2008 to 2015;
            Chairman of the Board of American Railcar Industries, Inc., a railcar manufacturing
            company, from 1994 to 2014; a director of American Railcar Leasing LLC, a lessor
            and seller of specialized railroad tank and covered hopper railcars, from 2004 to
            2013; a director of WestPoint Home LLC, from 2005 to 2011; and a director of
            Cadus Corporation, a company engaged in the acquisition of real estate for
            renovation or construction and resale, from 1993 to 2010.

            Mr. Icahn brings to his role as the Chairman of the Board his significant business
            experience in leadership roles as director in various companies as discussed above,
            including certain of our subsidiaries. In addition, Mr. Icahn is uniquely qualified




                                                  - 10 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 11 of 69




           based on his historical background for creating value in companies across multiple
           industries. Mr. Icahn has proven to be a successful investor over the past 40 years.

           Defendant Willetts

           37.    Defendant Willetts has served as the CEO of Icahn Enterprises since November

   2021 and as a member of the Board since 2021. According to the 2022 10-K, as of February 22,

   2023, Defendant Willetts beneficially owned 69,498 Company depository units. Given that the

   price per Company depository unit at the close of trading on February 22, 2023, was $48.87,

   Defendant Willetts beneficially owned over $3.3 million worth of Company depository units as of

   that date.

           38.    For the fiscal year ended December 31, 2022, Defendant Willetts received

   $2,552,942 in total compensation including $1,000,000 salary, $1,550,000 bonus, and $2,942 in

   all other compensation. For the fiscal year ended December 31, 2021, Defendant Willetts received

   $5,067,930 in total compensation including $428,654 in salary, $887,535 in bonus, $3,750,000 in

   unit awards and $1,741 in all other compensation.

           39.    The 2022 10-K stated the following about Defendant Willetts:

           David Willetts has served as Chief Executive Officer of Icahn Enterprises since
           November 2021 and director since June 2021. Mr. Willets previously served as
           Chief Financial Officer of Icahn Enterprises from June 2021 until November 2021.
           In addition, Mr. Willetts has served as a Managing Director at AlixPartners, a
           global consulting firm which specializes in improving corporate financial and
           operational performance and executing corporate turnarounds. Since 2012, Mr.
           Willetts has worked continuously with Private Equity firms and public companies
           in the industrial, automotive, consumer products, retail and energy sectors. Prior to
           that time, he was a senior operating executive at Cerberus Capital for eight years,
           serving in multiple financial and operating roles including Chief Financial Officer,
           divisional Chief Executive Officer and lead executive restructuring roles within
           Cerberus’ operating companies. Prior to 2005, Mr. Willetts was employed at
           General Electric in progressive finance executive roles within General Electric’s
           Corporate Audit Staff and industrial business units, including as the Chief Financial
           Officer of GE Lighting Systems and Chief Financial Officer of GE C&I Lighting,


                                                  - 11 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 12 of 69




          North America. Mr. Willetts graduated from Franklin and Marshall College in 1997
          Summa Cum Laude, with a B.A. in business, with a double concentration in
          accounting and finance. Mr. Willetts has served as director of Viskase Companies,
          Inc., since June 2021, and CVR Energy, Inc. and CVR Partners LP since July 2021.
          Viskase Companies, Inc., CVR Energy, Inc. and CVR Partners LP are each
          indirectly controlled by Carl C. Icahn.

          Mr. Willetts brings to his service as a director his significant experience in
          leadership roles as director of various companies as discussed above. In particular,
          his experience as Chief Financial Officer and divisional Chief Executive Officer of
          Cerberus Capital enables him to understand the complex business and financial
          issues that we may face.

          Defendant Papapostolou

          40.    Defendant Papapostolou has served as Icahn Enterprises’ CFO since 2021, Chief

   Accounting Officer since 2022 and director and secretary of Icahn Enterprises GP since 2020.

   According to the 2022 10-K as of February 22, 2023, Defendant Papapostolou beneficially owned

   30,579 depository units. Given the price per Company depository unit at the close of trading on

   February 22, 2023, was $48.87 Papapostolou beneficially owned over $1.4 million worth of the

   Company’s depository units as of that date.

          41.    For the fiscal year ended December 31, 2022, Defendant Papapostolou received

   $660,765 in total compensation, including $550,000 in salary, $100,000 in bonus, and $10,765 in

   all other compensation. For the fiscal year ended December 31, 2021, Defendant Papapostolou

   received $2,023,188 in total compensation including $271,000 in salary, $100,000 in bonus,

   $1,650,000 and $11,251 in all other compensation. For the fiscal year ended December 31, 2020,

   Defendant Papapostolou received $361,230 in total compensation, including $250,000 in salary,

   $100,000 in bonus, and $11,230 in all other compensation.

          42.    The 2022 10-K stated the following about Defendant Papapostolou:




                                                 - 12 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 13 of 69




           Ted Papapostolou has served as Chief Financial Officer of Icahn Enterprises since
           November 2021 and Chief Accounting Officer of Icahn Enterprises since March
           2020. In addition, Mr. Papapostolou has served as director of Icahn Enterprises
           since December 2021 and its Secretary since April 2020. Mr. Papapostolou served
           in various progressive accounting positions at Icahn Enterprises from March 2007
           to March 2020. Previously, Mr. Papapostolou worked at Grant Thornton LLP in
           their audit practice. Mr. Papapostolou received his M.B.A. from The Peter J. Tobin
           College of Business at Saint John’s University and his B.B.A. from Frank G. Zarb
           School of Business at Hofstra University. Mr. Papapostolou has served as director
           of Viskase Companies, Inc., since April 2020. Viskase Companies, Inc., is
           indirectly controlled by Carl C. Icahn



           Defendant Cozza

           43.    Defendant Cozza has served as Icahn Enterprises’ president, and CEO, and also a

   director of Icahn Enterprises GP from 2014 until May 10, 2021. According to the Form 10-K filed

   with the SEC on February 26, 2021, for the fiscal year ended December 31, 2020 (“2021 10-K”),

   as of February 26, 2021, Defendant Cozza beneficially owned 2,000 Company depository units.

   Given that the price per Company depository unit at the close of trading on February 26, 2021 was

   $43.20, Cozza beneficially owned $86,400 million worth of Company depository units as of that

   date.

           44.     For the fiscal year ended December 31, 2021, Defendant Cozza received

   $2,942,918 in total compensation including $856,904 in salary, $2,083,333 bonus, and $2,681 in

   all other compensation. For the fiscal year ended December 31, 2020, Defendant Cozza received

   $6,511,588, in total compensation including $1,500,000 in salary, $5,000,000 bonus, and $11,588

   in all other compensation. For the fiscal year ended December 31, 2019, Defendant Cozza received

   $6,5111,387 in total compensation, including $1,500,043 in salary, $5,000,000 in bonus, and

   $11,344 in all other compensation. For the fiscal year ended December 31, 2018, $1,528,889 in



                                                 - 13 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 14 of 69




   salary, $5,000,000 in bonus, and $10,719 in all other compensation. Upon Defendant Cozza’s

   resignation and departure in 2021 he received a pro-rated cash bonus of $2,083,333

          45.    The 2021 10-K stated the following about Defendant Cozza:

          Keith Cozza has been the President and Chief Executive Officer of Icahn
          Enterprises since February 2014. In addition, Mr. Cozza has served as Chief
          Operating Officer of Icahn Capital LP, the subsidiary of Icahn Enterprises through
          which Carl C. Icahn manages investment funds, since February 2013. From
          February 2013 to February 2014, Mr. Cozza served as Executive Vice President of
          Icahn Enterprises. Mr. Cozza is also the Chief Financial Officer of Icahn Associates
          Holding LLC, a position he has held since 2006. Mr. Cozza has been a: Chairman
          of the Board of Xerox Corporation, a provider of document management solutions,
          since May 2018; and director of Icahn Enterprises since September 2012. In
          addition, Mr. Cozza serves as a director of certain wholly-owned subsidiaries of
          Icahn Enterprises, including: Icahn Automotive Group LLC and PSC Metals, LLC.
          Mr. Cozza was previously: a director of Tenneco Inc., manufacturers of Ride
          Performance, Clean Air products and technology solutions for automotive and
          commercial vehicles, from October 2018 until March 2019; a director of Federal-
          Mogul LLC, a supplier of automotive powertrain and safety components, from
          January 2017 until October 2018; a director of Tropicana Entertainment Inc., a
          company that is primarily engaged in the business of owning and operating casinos
          and resorts, from February 2014 until October 2018; a director of Herbalife Ltd., a
          nutrition company, from April 2013 until April 2018; a member of the Executive
          Committee of American Railcar Leasing LLC, a lessor and seller of specialized
          railroad tank and covered hopper railcars, from June 2014 to June 2017; a director
          of FCX Oil & Gas Inc., a wholly-owned subsidiary of Freeport-McMoRan Inc.,
          from October 2015 to April 2016; a director of CVR Refining, LP from January
          2013 to February 2014; and a director of MGM Holdings Inc., an entertainment
          company focused on the production and distribution of film and television content,
          from April 2012 to August 2012. Icahn Enterprises, Icahn Automotive Group LLC,
          PSC Metals, LLC and CVR Refining, LP each are indirectly controlled by Carl C.
          Icahn, and Federal-Mogul LLC, Tropicana Entertainment Inc. and American
          Railcar Leasing LLC were previously indirectly controlled by Mr. Icahn. Mr. Icahn
          has or previously had non-controlling interests in Xerox Corporation, Tenneco Inc.,
          Herbalife Ltd., Freeport-McMoRan, and MGM Holdings through the ownership of
          securities.

          Mr. Cozza brings to his service as a director his significant experience in leadership
          roles as director of various companies as discussed above. In particular, his
          experience as Chief Financial Officer of Icahn Associates Holding LLC enables
          him to understand the complex business and financial issues that we may face.



                                                  - 14 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 15 of 69




          Defendant Cho

          46.    Defendant Cho had served as the Company’s CFO from March 2012 until June

   2021. According to the 2021 10-K, as of February 26, 2021, Defendant Cho beneficially owned

   1,100 of the Company’s depository units. Given that the price per Company depository unit at the

   close of trading on February 26, 2021 was $43.20 Defendant Cho beneficially owned $47,520

   worth of Company depository units as of that date.

          47.     For the fiscal year ended December 31, 2021, Defendant Cho received $1,369,793

   in total compensation, $669,581 in salary, $697,531 bonus, and $2,681 in all other compensation.

   For the fiscal year ended December 31, 2020, Defendant Cho received $2,551,588 in total

   compensation including $840,000 in salary, $1,700,000 in bonus, and $11,588 in all other

   compensation from the Company. For the fiscal year ended December 31, 2019, Defendant Cho

   received $2,590,138 in total compensation, including $878,794 in salary, $1,700,000 in bonus, and

   $11,344 in all other compensation. For the fiscal year ended December 31, 2018, Defendant Cho

   received $2,559,973 in total compensation including $849,254 in salary, $1,700,000 in bonus, and

   $10,719 in all other compensation. Upon Defendant Cho’s resignation and departure in 2021, he

   received a pro-rated cash bonus of $2,083,333.

          48.    The 2021 10-K stated the following about Defendant Cho:

          SungHwan Cho has served as Chief Financial Officer of Icahn Enterprises since
          March 2012. Prior to that time, he was Senior Vice President and previously
          Portfolio Company Associate at Icahn Enterprises since October 2006. Mr. Cho has
          been a: director of Hertz Global Holdings, Inc., a company engaged in the car rental
          business, since May 2017; director of CVR Energy, Inc. since May 2012 (and has
          been Chairman of the Board of CVR Energy, Inc. since June 2018); and director of
          Icahn Enterprises since September 2012. In addition, Mr. Cho serves as a director
          of WestPoint Home LLC. Mr. Cho was previously: a director of PSC Metals, LLC;
          a director of Icahn Automotive Group LLC; a director of Tenneco Inc.,
          manufacturers of Ride Performance, Clean Air products and technology solutions


                                                 - 15 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 16 of 69




          for automotive and commercial vehicles, from April 2019 until June 2020; a
          director and Chairman of the Board of Ferrous Resources Limited, an iron ore
          mining company, from January 2017 until July 2019; a director (from January
          2013) and Chairman of the Board (from June 2018) of CVR Refining, LP until
          January 2019; a member of the Executive Committee of American Railcar Leasing
          LLC, a lessor an seller of specialized railroad tank and covered hopper railcars,
          from September 2013 to June 2017; a director of CVR Partners, LP from May 2012
          to April 2017; a director of Viskase Companies, Inc. from November 2006 to April
          2017; a director of Take-Two Interactive Software Inc., a publisher of interactive
          entertainment products, from April 2010 to November 2013; a director (from June
          2011) and Chairman of the Board (from July 2014) of American Railcar Industries,
          Inc., a railcar manufacturing company, until December 2018; and a director of
          Federal-Mogul LLC, a supplier of automotive powertrain and safety components,
          until October 2018. Icahn Enterprises, CVR Energy, Inc., Icahn Automotive Group
          LLC, PSC Metals, LLC, WestPoint Home LLC, CVR Partners, LP, Viskase
          Companies, Inc. and CVR Refining, LP each are indirectly controlled by Carl C.
          Icahn, and Ferrous Resources Limited, American Railcar Leasing LLC, American
          Railcar Industries, Inc. and Federal-Mogul LLC, were previously indirectly
          controlled by Mr. Icahn. Mr. Icahn has or previously had a non-controlling interest
          in each of Hertz Global Holdings, Tenneco, Inc. and Take-Two Interactive
          Software through the ownership of securities.

          Mr. Cho brings to his service as a director his significant experience in leadership
          roles as director of various companies as discussed above. In particular, his service
          as Chief Financial Officer of Icahn Enterprises and Icahn Enterprises Holdings
          enables him to understand the complex business and financial issues that we may
          face.

          Defendant Barton

          49.    Defendant Barton has served as Icahn Enterprises GP director since September

   2019. She also served as a member of the Audit Committee from September 2019 to April 2021.

          50.    For the fiscal year ended December 31, 2022, Defendant Barton received $35,000

   in compensation from the Company all in fees earned or paid in cash. For the fiscal year ended

   2021, Defendant Barton received $39,208 in compensation from the Company all in fees earned

   or paid in cash. For the fiscal year ended December 31, 2020, Defendant Barton received $39,208




                                                 - 16 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 17 of 69




   in fees earned or paid in cash. For the fiscal year December 31, 2019, Defendant Barton received

   $9,205 in fees earned or paid in cash.

          51.     The 2022 10-K stated the following about Defendant Barton:

          Denise Barton has served as a director of Icahn Enterprises’ general partner, Icahn
          Enterprises GP, since September 2019 and was a member of our audit committee
          from September 2019 until April 2021. In addition, Ms. Barton has served as Chief
          Financial Officer of IEH Auto Parts LLC, a subsidiary of Icahn Enterprises since
          July of 2021 and both Chief Executive Officer and Chief Financial Officer of IEH
          Auto Parts LLC since September 2021. Ms. Barton currently serves as director of
          certain subsidiaries of Icahn Automotive Group LLC. Previously, Ms. Barton has
          served on the board of directors and audit committee for Viskase Companies, Inc.,
          a subsidiary of Icahn Enterprises, from May 2016 until January 2022 and served on
          the board of directors and audit committee for Trump Entertainment Resorts, Inc.,
          a subsidiary of Icahn Enterprises, from February 2016 through June 2017. Ms.
          Barton served as a member of the Operating Executive Board of Gotham Private
          Equity Partners, LP, a New York based merchant banking firm, from March 2010
          through January 2014. Ms. Barton served as the Chief Financial Officer for Land
          Holdings I, LLC, a company formed to develop, own and operate the Scarlet Pearl
          Casino Resort, from March 2012 through March 2017. In addition, Ms. Barton has
          over 15 years’ experience in public accounting and has served as Chief Financial
          Officer in both public and private companies. Ms. Barton is a certified public
          accountant and has been licensed by the Nevada State Gaming Control
          Commission, the New Jersey Casino Control Commission and the Mississippi
          Gaming Commission.

          Ms. Barton brings to her service as a director her significant experience in
          leadership roles as director of various companies as discussed above. In particular,
          her service as Chief Financial Officer of various companies enables her to
          understand the complex business and financial issues that we may face.

          Defendant Krongard

          52.     Defendant Krongard has served as an Icahn Enterprises GP director since March

   2019 and is a member of the Board’s Audit Committee. According to the 2022 10-K, as of

   February 22, 2023, Defendant Krongard beneficially owned 41,008 in the Company’s depository

   units. Given that the price per Company depository unit at the close of trading on February 22,




                                                 - 17 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 18 of 69




   2023, was $48.87, Defendant Krongard beneficially owned over $2 million worth of the

   Company’s depository units as of that date.

          53.    For the fiscal year ended December 31, 2022, Defendant Krongard received

   $35,000 in fees earned or paid in cash. For the fiscal year ended December 31, 2021, Defendant

   Krongard received $35,000 in fees earned or paid in cash. For the fiscal year ended December 31,

   2020, Defendant Krongard received $35,000 in fees earned or paid in cash. For the fiscal year

   ended December 31, 2019, Defendant Krongard received $27,880 is fees earned or paid in cash.

          54.    The 2022 10-K stated the following about Defendant Krongard:

          Alvin B. Krongard has served as a director of Icahn Enterprises’ general partner,
          Icahn Enterprises GP, since March 2019 and is a member of our audit committee.
          Mr. Krongard currently serves as a director and a member of the audit committee
          of the board of directors of Apollo Global Management, LLC; as a director and
          chairman of the corporate governance committee and the investment committee of
          the board of directors of Iridium Communications Inc. and previously served as the
          lead independent director and chairman of the audit committee of the board of
          directors of Under Armour, Inc from March 2019 until May 2020. He served as
          Executive Director of the Central Intelligence Agency from 2001 to 2004 and as
          counselor to the Director of the Central Intelligence Agency from 2000 to 2001.
          Mr. Krongard previously served in various capacities at Alex.Brown, Incorporated,
          including serving as Chief Executive Officer beginning in 1991 and assuming
          additional duties as Chairman of the board of directors in 1994. Upon the merger
          of Alex.Brown with Bankers Trust Corporation in 1997, Mr. Krongard became
          Vice Chairman of the Board of Bankers Trust and served in such capacity until
          joining the Central Intelligence Agency in 1998.

          Mr. Krongard brings to his service as a director his significant experience in
          leadership roles as director of various companies as discussed above. In particular,
          his service as Chief Executive Officer of Alex.Brown, Incorporated enables him to
          understand the complex business and financial issues that we may face.

          Defendant Brett Icahn

          55.    Defendant Brett has served as an Icahn Enterprises GP director since October 2020.

   Defendant Brett Icahn also served previously as a consultant for Icahn Enterprises, exclusively



                                                 - 18 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 19 of 69




   providing investment advice to Defendant Icahn. Defendant Brett is also the son of Defendant

   Icahn. According to the 2022 10-K, as of February 22, 2023, Defendant Brett Icahn beneficially

   owned 408,404. Given that the price per Company depository unit at the close of trading on

   February 22, 2023, was $48.87 Defendant Brett beneficially owned over $19 million worth of the

   Company’s depository units as of that date.

          56.    The 2022 10-K stated the following about Defendant Brett:

          Brett Icahn has served as a director of Icahn Enterprises’ general partner, Icahn
          Enterprises GP and has been a Portfolio Manager for Icahn Capital LP, a subsidiary
          of Icahn Enterprises since October 2020. Mr. Icahn was previously a consultant for
          Icahn Enterprises, where he exclusively provided investment advice to Carl C.
          Icahn with respect to the investment strategy for Icahn Enterprises’ Investment
          segment and with respect to capital allocation across Icahn Enterprises’ various
          operating subsidiaries from 2017 to 2020. From 2010 to 2017, Mr. Icahn was
          responsible for co-executing an investment strategy across all industries as a
          Portfolio Manager of the Sargon Portfolio for Icahn Capital LP, the entity through
          which Carl C. Icahn manages investment funds. From 2002 to 2010, Mr. Icahn
          served as an investment analyst for Icahn Capital LP and in a variety of investment
          advisory roles for Carl C. Icahn. Mr. Icahn has been a director of Newell Brands
          Inc., a global marketer of consumer and commercial products, since March 2018,
          and Bausch Health Companies Inc., a manufacturer and marketer of
          pharmaceuticals, over the counter products and medical devices, since March 2021.
          Mr. Icahn was previously a director of: Nuance Communications, Inc., a provider
          of voice and language solutions, from October 2013 to March 2016; Voltari
          Corporation, a mobile data services provider, from January 2010 to August 2014;
          American Railcar Industries, Inc., a railcar manufacturing company, from January
          2007 to June 2014; Cadus Corporation, a company engaged in the acquisition of
          real estate for renovation or construction and resale, from January 2010 to February
          2014; Take-Two Interactive Software Inc., a publisher of interactive entertainment
          products, from April 2010 to November 2013; and The Hain Celestial Group, Inc.,
          a natural and organic products company, from July 2010 to November 2013. Voltari
          Corporation, American Railcar Industries and Cadus Corporation were previously
          indirectly controlled by Carl C. Icahn. Carl C. Icahn also has or previously had non-
          controlling interests in Newell Brands Inc., Nuance Communications, Inc., Take-
          Two Interactive Software Inc. and the Hain Celestial Group through the ownership
          of securities. Brett Icahn is the son of Carl C. Icahn.
          Mr. Icahn brings to his service as a director his significant experience in
          leadership roles as director of various companies as discussed above. In addition,
          Mr. Icahn is uniquely qualified based on his prior experience working as an


                                                 - 19 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 20 of 69




          investment analyst for Icahn Capital LP.

          Defendant Mongillo

          57.    Defendant Mongillo has served as an Icahn Enterprises GP director since March

   2020. Defendant Mongillo also serves as a member of the Audit Committee.

          58.    For the fiscal year ended December 31, 2022, Defendant Mongillo received

   $40,000 in fees earned or paid in cash. For the fiscal year ended December 31, 2021, Defendant

   Mongillo received $38,466 in fees earned or paid in cash. For the fiscal year ended December 31,

   2020, Defendant Mongillo received $27,828 in fees earned or paid in cash.

          59.    The 2022 10-K stated the following about Defendant Mongillo

          Stephen A. Mongillo has served as a director of Icahn Enterprises’ general partner,
          Icahn Enterprises GP, since March 2020 and is a member of our audit committee.
          Mr. Mongillo has served as a director of CVR Energy, Inc., a majority owned
          subsidiary of Icahn Enterprises, since May 2012. Mr. Mongillo is currently, and has
          been since April 2012, the Chairman and Chief Executive Officer of AMPF, Inc.,
          a distributor of picture frame mouldings and supplies of which he is also the
          principal shareholder. Previously, Mr. Mongillo served as: a director of HERC
          Holdings, Inc., a publicly traded equipment rental company, from 2016 until 2018;
          a director of American Railcar Industries, Inc from 2009 until 2011; a director of
          WestPoint Home LLC, from March 2009 until January 2011; and a managing
          director of Icahn Capital LP, from January 2008 until January 2011. Icahn Capital
          LP and WestPoint Home, LLC are each indirectly controlled by Carl C. Icahn.
          American Railcar Industries, Inc. was previously indirectly controlled by Carl C.
          Icahn. Carl C. Icahn also previously had non-controlling interests in HERC
          Holdings, Inc through the ownership of securities. Mr. Mongillo received a B.A.
          from Trinity College and an M.B.A. from the Amos Tuck School of Business
          Administration at Dartmouth College.

          Mr. Mongillo brings to his service as a director his significant experience in
          leadership roles as director of various companies as discussed above. In particular,
          his service as Chief Executive Officer of AMPF, Inc. enables him to understand the
          complex business and financial issues that we may face.

          Defendant Nevin




                                                 - 20 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 21 of 69




          60.    Defendant Nevin has served an Icahn Enterprises GP director since December

   2018. Defendant Nevin has also served as CFO of Icahn Automotive Group, LLC, a subsidiary of

   Icahn Enterprises, from August 2019 to November 2022. Defendant Nevin is the son in law of

   Defendant Icahn.

          61.    The 2022 10-K stated the following about Defendant Nevin:

          Michael Nevin has served as a director of Icahn Enterprises’ general partner, Icahn
          Enterprises GP, since December 2018 and has served as Managing Director from
          June 2018 until August 2019. In addition, Mr. Nevin has served as Chief Financial
          Officer of Icahn Automotive Group LLC from August 2019 to November 2022.
          From July 2015 to June 2018, Mr. Nevin served as a Financial Analyst at Icahn
          Enterprises. Prior to joining Icahn Enterprises, Mr. Nevin was employed by
          Jefferies LLC as a Research Analyst from 2014 to 2015 covering the utilities sector.
          Mr. Nevin was also employed by JP Morgan Investment Bank in various roles from
          2009 to 2014, most recently as an Associate from 2012 to 2014. Mr. Nevin currently
          serves as director of certain subsidiaries of Icahn Automotive Group LLC. Mr.
          Nevin was previously: a director of Viskase Companies, Inc. from April 2017 until
          January 2022; a director of Conduent Incorporated, a provider of business process
          outsourcing services, from December 2016 through August 2019; a director of
          Ferrous Resources Ltd, an iron ore mining company, from December 2016 through
          its sale in August 2019; a director of American Railcar Industries, Inc., a railcar
          manufacturing company, from February 2017 through its sale in December 2018;
          and a director of Federal-Mogul LLC, a supplier of automotive powertrain and
          safety components, from February 2016 through its sale in October 2018. Viskase
          Companies, Inc., is indirectly controlled by Carl C. Icahn. Ferrous Resources Ltd.,
          American Railcar Industries, Inc. and Federal-Mogul LLC were previously
          indirectly controlled by Mr. Icahn. Carl C. Icahn also has a non-controlling interest
          in Conduent Incorporated through the ownership of securities. Mr. Nevin is married
          to the daughter of Carl C. Icahn.

          Mr. Nevin brings to his service as a director his significant experience in leadership
          roles as director of various companies as discussed above. In particular, his service
          as Chief Financial Officer of Icahn Automotive enables him to understand the
          complex business and financial issues that we may face.

                 FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

          62.    By reason of their positions as officers, directors and/or fiduciaries of Icahn

   Enterprises and Icahn Enterprises GP, and because of their ability to control the business and


                                                  - 21 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 22 of 69




   corporate affairs of Icahn Enterprises, the Individual Defendants owed Icahn Enterprises and its

   unitholders fiduciary obligations of trust, loyalty, good faith, and due care, and were and are

   required to use their utmost ability to control and manage Icahn Enterprises in a fair, just, honest,

   and equitable manner. The Individual Defendants were and are required to act in furtherance of

   the best interests of Icahn Enterprises and its unitholders so as to benefit all unitholders equally.

          63.     Each director of Icahn Enterprises GP and officers of Icahn Enterprises owes to

   Icahn Enterprises and its unitholders the fiduciary duty to exercise good faith and diligence in the

   administration of the Company and in the use and preservation of its property and assets and the

   highest obligations of fair dealing.

          64.     The Individual Defendants, because of their positions of control and authority as

   directors of Icahn Enterprises GP, and officers of Icahn Enterprises were able to and did, directly

   and/or indirectly, exercise control over the wrongful acts complained of herein.

          65.     To discharge their duties, the officers of Icahn Enterprises and directors of Icahn

   Enterprises GP were required to exercise reasonable and prudent supervision over the

   management, policies, controls, and operations of the Company.

          66.     Each Individual Defendant, by virtue of his or her position as a director and/or

   officer, owed to the Company and to its unitholders the highest fiduciary duties of loyalty, good

   faith, and the exercise of due care and diligence in the management and administration of the

   affairs of the Company, as well as in the use and preservation of its property and assets. The

   conduct of the Individual Defendants complained of herein involves a knowing and culpable

   violation of their obligations as directors and officers of Icahn Enterprises GP and Icahn

   Enterprises, the absence of good faith on their part, or a reckless disregard for their duties to the



                                                   - 22 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 23 of 69




   Company and its unitholders that the Individual Defendants were aware or should have been aware

   posed a risk of serious injury to the Company. The conduct of the Individual Defendants who were

   also officers and directors of Icahn Enterprises GP has been ratified by the remaining Individual

   Defendants who collectively comprised Icahn Enterprises Board at all relevant times.

           67.     As senior executive officers and directors of a publicly-traded company whose

   common units were registered with the SEC pursuant to the Securities Exchange Act of 1934

   (“Exchange Act”) and traded on the NASDAQ, the Individual Defendants had a duty to prevent

   and not to effect the dissemination of inaccurate and untruthful information with respect to, inter

   alia, the Company’s financial condition, performance, growth, operations, financial statements,

   business, products, management, earnings, internal controls, and present and future business

   prospects, and had a duty to cause the Company to disclose in its regulatory filings with the SEC

   all those events described in this Complaint that it failed to disclose, so that the market price of the

   Company’s common stock would be based upon truthful and accurate information.

           68.     To discharge their duties, the officers, and directors of Icahn Enterprises GP were

   required to exercise reasonable and prudent supervision over the management, policies, practices,

   and internal controls of the Company. By virtue of such duties, the officers, and directors of Icahn

   Enterprises GP were required to, among other things:

           (a)     ensure that the Company was operated in a diligent, honest, and prudent manner in

           accordance with the laws and regulations of Delaware, the United States, and pursuant to

           Icahn Enterprises’ own Code of Business Conduct and Ethics, and Audit Committee

           Charter;




                                                    - 23 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 24 of 69




         (b)    conduct the affairs of the Company in an efficient, business-like manner so as to

         make it possible to provide the highest quality performance of its business, to avoid wasting

         the Company’s assets, and to maximize the value of the Company’s units;

         (c)    remain informed as to how Icahn Enterprises GP conducted Icahn Enterprises

         operations, and, upon receipt of notice or information of imprudent or unsound conditions

         or practices, to make reasonable inquiry in connection therewith, and to take steps to

         correct such conditions or practices;

         (d)    establish and maintain systematic and accurate records and reports of the business

         and internal affairs of Icahn Enterprises, Icahn Enterprises GP, and Icahn Enterprises

         Holdings and procedures for the reporting of the business and internal affairs to the Icahn

         Enterprises Board and to periodically investigate, or cause independent investigation to be

         made of, said reports and records;

         (e)    maintain and implement an adequate and functioning system of internal legal,

         financial, and management controls, such that Icahn Enterprises’ operations would comply

         with all laws and Icahn Enterprise’s financial statements and regulatory filings filed with

         the SEC and disseminated to the public and the Company’s unitholders would be accurate;

         (f)    exercise reasonable control and supervision over the public statements made by the

         Company’s officers and employees and any other reports or information that the Company

         was required by law to disseminate;

         (g)    refrain from unduly benefiting themselves and other Company insiders at the

         expense of the Company; and




                                                 - 24 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 25 of 69




          (h)     examine and evaluate any reports of examinations, audits, or other financial

          information concerning the financial affairs of the Company and to make full and accurate

          disclosure of all material facts concerning, inter alia, each of the subjects and duties set

          forth above.

          69.     Each of the Individual Defendants further owed to Icahn Enterprises and its

   unitholders the duty of loyalty requiring that each favor Icahn Enterprises’ interest and that of its

   unitholders over their own while conducting the affairs of the Company and refrain from using

   their position, influence, or knowledge of the affairs of the Company to gain personal advantage.

          70.     At all times relevant hereto, the Individual Defendants were the agents of each other

   and of Icahn Enterprises, and/or Icahn Enterprises GP and were at all times acting within the course

   and scope of such agency.

          71.     Because of their advisory, executive, managerial, and directorial positions with

   Icahn Enterprises GP, each of the Individual Defendants had access to adverse, non-public

   information about the Company.

          72.     The Individual Defendants, because of their positions of control and authority, were

   able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

   as well as the contents of the various public statements issued by Icahn Enterprises.

           CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

          73.     In committing the wrongful acts alleged herein, the Individual Defendants have

   pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

   and conspired with one another in furtherance of their wrongdoing. The Individual Defendants




                                                   - 25 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 26 of 69




   caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

   aided and abetted and/or assisted each other in breaching their respective duties.

          74.     The purpose and effect of the conspiracy, common enterprise, and/or common

   course of conduct was, among other things, to: (i) facilitate and disguise the Individual Defendants’

   violations of law, including breaches of fiduciary duty, unjust enrichment, and waste of corporate

   assets; (ii) conceal adverse information concerning the Company’s operations, financial condition,

   competitors, future business prospects and internal controls; and (iii) artificially inflate the

   Company’s stock price.

          75.     The Individual Defendants accomplished their conspiracy, common enterprise,

   and/or common course of conduct by causing the Company purposefully, recklessly, or with gross

   negligence to inflate its net asset value and, make material misrepresentations of facts, conceal

   material facts, fail to correct such misrepresentations, and violate applicable laws. During the

   Relevant Period, the Individual Defendants collectively and individually initiated a course of

   conduct that was designed to and did conceal the fact that the Company was inflating its net asset

   value. In furtherance of this plan, conspiracy, and course of conduct, the Individual Defendants

   collectively and individually took the actions set forth herein. Because the actions described herein

   occurred under the authority and approval of the Board, each of the Individual Defendants, who

   are directors of Icahn Enterprises GP, was a direct, necessary, and substantial participant in the

   conspiracy, common enterprise, and/or common course of conduct complained of herein.

          76.     Each of the Individual Defendants aided and abetted and rendered substantial

   assistance in the wrongs complained of herein. In taking such actions to substantially assist the

   commission of the wrongdoing complained of herein, each of the Individual Defendants acted with



                                                  - 26 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 27 of 69




   actual or constructive knowledge of the primary wrongdoing, either took direct part in or

   substantially assisted the accomplishment of that wrongdoing and was or should have been aware

   of his or her overall contribution to and furtherance of the wrongdoing.

          77.     At all times relevant hereto, each of the Individual Defendants was the agent of

   each of the other Individual Defendants and of Icahn Enterprises and was at all times acting within

   the course and scope of such agency.

                         CODE OF ETHICS AND BUSINESS CONDUCT

          78.     Pursuant to the Company’s Code of Ethics and Business Conduct (the “Code of

   Ethics”), the conduct of all the Company’s officers, directors, and employees is governed by the

   Code of Ethics.

          79.     The Code of Ethics governs Icahn Enterprises, Icahn Enterprises GP, its subsidiary

   limited partnership, and Icahn Enterprises Holdings

          80.     The Code of Ethics provides in relevant part, as to “Purpose,” that:

          (a)    Promote honest and ethical conduct, including the ethical handling of actual
          or apparent conflicts of interest;

          (b)promote full, fair, accurate, timely and understandable disclosure in reports an
          documents that the Company files with, or submits to, the Securities and Exchange
          Commission (the “SEC” and in other public communications made by the
          Company;

          (c) promote compliance with applicable governmental law, rules and regulations;

          (d) promote the protection of Company assets, including corporate opportunities
          and
          confidential information

          (e) promote fair dealing practices;

          (f) deter wrongdoing; and



                                                 - 27 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 28 of 69




         (g) ensure accountability for adherence to the Code.

         …

         All employes should conduct their affairs honestly and strive to observe the
         highest standards of personal, professional, and business ethics.

         81.    The Code of Ethics provides in relevant part, as to “Conflicts of Interest,” that:

         Employees must always act in the best interest of the Company when conducting
         Company business. A conflict of interest occurs when an individual’s personal
         interest interferes with the performance of that individual’s duties in a manner that
         is detrimental to the interests of the Company as a whole. A conflict situation can
         arise when an Employee takes actions or has interests that may make it difficult to
         perform his or her Company work objectively and effectively. Conflicts of interests
         also arise when an Employee, or a member of his or her family, receives improper
         personal benefits (such as excessive gifts or entertainment provided by persons
         seeking to do business with the Company) as a result of his or her position in the
         Company. Such conflicts of interests can undermine our business judgement and
         our responsibility to the Company and threaten the Company’s business and
         reputation.

         82.    The Code of Ethics provides in relevant part, as to “Disclosure,” that:

         The Company’s periodic reports and other documents filed with the SEC, including
         all financial statements and other financial information, must comply with appliable
         federal securities laws and SEC rules.

         Each Employee who contributes in any way to the preparation or verification of the
         Company’s financial statements and other financial information must ensure that
         the Company’s books, records, and accounts are accurately maintain. Each
         Employee must cooperate fully with the Company’s Accounting Department, as
         well as the Company’s independent public accountants and counsel.

         Each Employee who is involved in the Company’s disclosure process must:

         (a)    be familiar with and comply with the Company’s disclosure controls and
                procedures and its internal; control over financial reporting; and

         (b)    take all necessary steps to ensure that all filings with the SEC and all other
                public communications about the financial and business condition of the
                Company with respect to matters within such Employee’s areas of
                responsibility provide full, fair, accurate timely and understandable
                disclosure of such matters.


                                                - 28 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 29 of 69




          83.    The Code of Ethics provides in relevant part, as to “Compliance with Laws, Rules

   & Regulations” that:

          Employees are required to comply fully with all laws, rules and regulations
          affecting the Company’s business and its conduct in business matters.

          Although not all Employees are expected to know the details of all applicable laws,
          rules, and regulations, it is important to know enough to determine when to seek
          advice from the appropriate staff member. Questions about compliance should be
          addressed to an attorney in the Law Department.

          84.    The Code of Ethics provides in relevant part, as to “Accounting Matters,” that:

          The CEO and each senior financial officer of the Company shall promptly bring to
          the attention of the Audit Committee of the Board of Directors any information he
          or she may have concerning (a) significant deficiencies in the design or operation
          of internal control over financial reporting which could adversely affect the
          Company’s ability to record, process, summarize and report financial data or (b)
          any fraud, whether or not material, that involves management or other employees
          who have a significant role in the Company’s financial reporting, disclosures or
          internal control over financial reporting.

          85.    The Code of Ethics provides in relevant part, as to “Fair Dealing,” that:

          No Employee should take unfair advantage of anyone through manipulation,
          concealment, abuse of privileged information, misrepresentation of material facts,
          or any other unfair dealing practices in violation of applicable law or contractual
          obligations.

          86.    The Code of Ethics provides in relevant part, as to “Responding to Improper

   Conduct,” that:

          If an employee violates the Company’s Code, he or she will be subject to
          disciplinary action. Supervisors and managers of a disciplined Employee may also
          be subject to disciplinary action for their failure to properly oversee an Employee's
          conduct, or for retaliation against an Employee who reports a violation(s)

          The Company’s response to misconduct will depend upon a number of factors
          including whether the improper behavior involved illegal conduct. Disciplinary
          action may include, but is not limited to, reprimands and warnings, probation,
          suspension, demotion, reassignment, reduction in salary or immediate termination.


                                                 - 29 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 30 of 69




          Employees should be aware that certain actions and omissions prohibited by the
          Code might be crimes that could lead to individual criminal prosecution and, upon
          conviction, to fines and imprisonment.

          87.     In violation of the Code of Ethics, the Individual Defendants (as key officers and

   as members of Icahn Enterprises GP’s Board) conducted little, if any, oversight of the Company’s

   internal controls over public reporting of the Individual Defendants’ schemes to artificially inflate

   the Company’s stock, issue materially false and misleading statements to the public and facilitate

   and disguise the Individual Defendants’ violations of law, including breaches of fiduciary duty,

   and unjust enrichment. In violation of the Code of Ethics, the Individual Defendants consciously

   disregarded their duties to (1) comply with the applicable laws and regulations, (2) protect

   corporate assets, (3) avoid using corporate opportunities for personal gain, (4) avoid conflicts of

   interest, (5) report violations of the Code of Ethics, (6) appropriately maintain the Company’s

   books, records, accounts, and financial statements, and (7) make accurate filings with the SEC.

      CHARTER OF THE AUDIT COMMITTEE OF THE BOARD OF DIRECTORS OF
                       ICAHN ENTERPRISES G.P., INC.

          88.     Pursuant to the Charter of the Audit Committee of the Board of Directors of Icahn

   Enterprises GP (the “Charter”), which applies to the Company, the purpose, membership, and

   duties of the Audit Committee are set forth in the charter.

          89.     The Charter provides, as to “Purposes,” that:

          The purposes of the Committee are to assist the Board in overseeing:

          (i)     the quality and integrity of the Partnership’s financial statements.

          (ii)    the qualifications, independence and compensation of the Partnership’s
                  independent auditor.

          (iii)   the performance of the Partnership’s internal audit function and
                  independent auditor, and


                                                  - 30 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 31 of 69




         (iv)   the Partnership’s compliance with legal and regulatory requirements
                applicable to financial reporting

         90.    The Charter provides, as to “Membership,” that:

         The committee shall consist of at least three board members. The members of the
         Committee shall be appointed by the Board, which shall recommend for Committee
         membership such directors as it believes are qualified. Members of the Committee
         shall serve at the pleasure of the Board and shall serve and for such terms as the
         Board may determine.

         Each member of the Board shall be independent in accordance with the
         requirements of Rule 10A-3 of the Securities Exchange Act of 1934 and the rules
         of the NASDAQ Stock Market (“NASDAQ”). No member of the Committee can
         have participated in the preparation of the Partnership’s or any of its subsidiaries’
         financial statements at any time during the past three years.

         While there is no limit on the number of public company audit committees on which
         a director may serve, if a director serves on more than three public company audit
         committees in addition to this Audit Committee (i.e., more than four public
         company audit committees in total), his or her service on this Audit Committee
         shall be subject to the Board’s determination that such simultaneous service on such
         other audit committees will not impair his or her ability to effectively serve on this
         Audit Committee.

         Each Member of the Committee shall obtain and maintain any license and other
         approval required by any state or local government authority in respect of the
         Partnership.

         Each member of the Committee must be able to read and understand fundamental
         financial statements, including the Partnership’s balance sheet, income statement
         and cash flow statement. In accordance with the rule of NASDAQ, at least one
         member of the Committee shall have past employment experience in finance or
         accounting, requisite professional certification in accounting, or any other
         comparable experience or background which results in his or her financial
         sophistication, including being or having been a chief executive officer, chief
         financial officer or other senior officer with financial oversight responsibilities. A
         person who satisfies the definition of “audit committee financial; expert” set forth
         in Item 407(d)(5)(ii) of Regulation S-K will be presumed to have financial
         sophistication.

         91.    The Charter provides, as to “Duties and Responsibilities” that:



                                                 - 31 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 32 of 69




         Reports to Board; Review of Committee Performance and Charter

         (a)     The Committee shall report regularly to the Board and review with the
                 Board any issues that arise with respect to:

         (i)     the quality or integrity of the Partnership’s financial statements;

         (ii)    the performance and independence of the Partnership’s independent
                 auditor;

         (iii)   the performance of the Partnership’s internal audit function; and

         (iv)    the partnership’s compliance with legal and regulatory requirements.

         (b)     The Committee shall undertake and review with the Board an annual
                 performance evaluation of the Committee, which shall compare the
                 performance of the Committee with the requirements of this Charter and set
                 forth the goals and objectives of the Committee for the upcoming year. This
                 performance evaluation by the committee shall be conducted in such
                 manner as the Committee deems appropriate. The reports to the Board may
                 take the form of an oral report by the chairperson of the Committee or any
                 other member of the Committee designated by the Committee to make this
                 report.

         Financial Reporting and Disclosure Matters

         (i)    The committee shall review and discuss with management and the
         independent auditor:

         (i) prior to the annual audit, the scope, planning and staffing of the annual audit;

         (ii) the Partnership’s annual audited financial statements and quarterly financial
         statements, including the Partnership’s disclosures under “Management’s
         Discussion and Analysis of Financial Condition and Results of Operations” and the
         results of the independent auditor’s reviews of the quarterly financial statements;

         (iii) significant issues regarding accounting and auditing principles and practices
         and financial statement presentations, including all critical accounting policies and
         estimates, any significant changes in the Partnership’s selection issues as to the
         adequacy of the Partnership’s internal controls and any special audit steps adopted
         in light of material control deficiencies;

         (iv) analyses prepared b management and/or the independent auditor setting forth
         significant financial reporting issues and judgements made in connection with the


                                                 - 32 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 33 of 69




          preparation of the financial statements, including analyses of the effects of
          alternative GAAP methods on the financial statements.

          (v)the effect of regulatory and accounting initiatives, as well as off-balance sheet
          structures, on the financial statements;

          (vi) any significant changes to the Partnership’s auditing and accounting principles
          and practices suggested by the independent auditor, internal audit personnel or
          management; and

          (vii) managements internal control report prepared in accordance with rules
          promulgated by the SEC pursuant to Section 404 of the Sarbanes-Oxley Act.
          …

          (j) The Committee shall recommend to the Board whether the annual audited
          financial statements should be included in the Partnership’s Form 10-K.

          (k) The Committee shall review and discuss, as appropriate, with management the
          Partnership’s practices regarding significant press releases and the provision of
          financial information and earnings guidance by management to analysts and ratings
          agencies.

          (l) the committee shall periodically review and discuss with management the
          Partnership’s guideline and polices with respect to the process by which the
          Partnership undertakes risk assessment and risk management, including discussion
          of the Partnership’s major financial risk exposures and the steps management has
          taken to monitor and control such exposures.

          (m) The Committee shall review and discuss with the CEO and CFO the procedures
          undertaken in connection with the CEO and CFO certifications for Form 10-Ks and
          Form 10-Qs including their evaluation of the Partnership’s disclosure controls and
          procedures and internal controls.

          (n) The Committee shall annually obtain from the independent auditor assurance
          that the audit was conducted in a manner consistent with Section 10A of the
          Exchange Act.

          92.    In violation of the Charter, the Individual Defendants who are members of the

   Boards of Icahn Enterprises GP and Icahn Enterprises, conducted little, if any, oversight of the

   Company’s internal controls over public reporting of financial statements and of the Company’s

   engagement in the Individual Defendants’ schemes to issue materially false and misleading


                                                 - 33 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 34 of 69




   statements to the public and the other schemes alleged herein, and facilitate and disguise the

   Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment,

   and waste of corporate assets. In violation of the Corporate Guidelines, the Individual Defendants

   who are members of the Board, inter alia, consciously disregarded their duties of loyalty, ethics,

   to act in the best interests of the Company, to use their free access to management to obtain all

   information necessary to fulfill their duties, to oversee the conduct of the business of Icahn

   Enterprises and to evaluate whether the business of the Company is being properly managed, to

   review and, where appropriate, approve material changes in the auditing and accounting principles

   and practices to be used in the preparation of the financial statements of Icahn Enterprises, and to

   properly evaluate themselves and the senior management of Icahn Enterprises.

                           INDIVIDUAL DEFENDANTS’ MISCONDUCT

          Background on Icahn Enterprises

          93.     Icahn Enterprises is master limited partnership with subsidiaries engaged in

   investment, energy automotive, food packaging, real estate, home fashion, and pharma.

          94.     The Company conducts its activities so not to be deemed an investment company

   under the Investment Company Act of 1940. Therefore, the Company does not invest more than

   40% of its total assets in investment securities. Furthermore, the Company does not invest or intend

   to invest in securities as its primary business.

          95.     In addition, the Company intends to structure its investments to be taxed as a

   partnership instead of a corporation under the Internal Revenues Services’ applicable publicly

   traded partnership rules.

          96.     As the Company states in the 2022 10-K as to “Business Description” that:



                                                      - 34 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 35 of 69




          Icahn Enterprises began as American Real Estate Partners L.P. in 1987 and
          currently operates a portfolio of seven diversified reporting segments. With the
          exception of our Investment segment, our operating segments primarily comprise
          independently operated businesses that we have obtained a controlling interest in
          through execution of our business strategy. Our Investment segment derives
          revenues from gains and losses from investment transactions. Our other operating
          segments derive revenues principally from net sales of various products, primarily
          within our Energy and Automotive segments, which together accounted for the
          significant majority of our consolidated net sales for each of the three years in the
          period ended December 31, 2021. Our other operating segments’ revenues are also
          derived through various other revenue streams which primarily consists of
          automotive services and real estate leasing operations. The majority of our
          consolidated revenues are derived from customers in the United States. Our Food
          Packaging segment, and prior to August 2019, our Mining segment, accounted for
          the majority of our consolidated revenues derived from customers outside the
          United States.

          97.       As revealed by the Report, the Company’s last reported year-end net asset value

   “[wa]s inflated by at least 22% due to a combination of overly aggressive marks on [Icahn

   Enterprises] less liquid/private investments and continued year to date underperformance.”

          98.       The Company also operates a “ponzi-like economic structure” regarding the

   Company’s high dividend yield. As the Report explained, the dividend yield is unsupported by the

   Company's cash flow and investment performance. Poor returns on investments and inflexible

   financial structure do not support the dividends paid out to investors. As such, the dividend yield

   can only be supported by using money brought in from new investors to pay out the dividends to

   old investors.

          99.       The Company’s business allocation can be summarized by the below illustration:


                                                                              Net Income (Loss) From
                                                                              Continuing Operations
                                                 Net Income (Loss) From        Attributable to Icahn

                           Revenues              Continuing Operations             Enterprises




                                                 - 35 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 36 of 69




                       Year Ended December 31,           Year Ended December 31,               Year Ended December 31,

                       2021      2020         2019       2021        2020          2019        2021      2020        2019
                                                                  (in millions)

   Investment      $     202    $ (1,249)   $ (1,414)   $ (32)     $ (1,447)      $ (1,543)   $ (16)    $ (765)     $ (775)

   Holding
   Company               (25)       (70)       (261)     (402)         (476)         (599)     (402)       (476)       (599)
   ther
   Operating
   Segments:

   Energy              7,327      3,966       6,385        29          (327)          314         (5)      (194)        246
   Automotive          2,360      2,465       2,895      (260)         (198)         (197)     (260)       (198)       (197)
   Food
   Packaging             402        403         377         (2)             4         (22)        (2)         4         (17)

   Real Estate            96         98         103         (8)          (16)          16         (8)       (16)         16
   Home
   Fashion               197        190         186         (8)            (7)        (17)        (8)         (7)       (17)
   Pharma                 85          3          —          (3)            (1)         —          (3)         (1)        —

   Metals                684        317         341       186             —           (22)      186          —          (22)
   Mining                 —          —          382        —              —           311        —           —          299
   ther
   operating         11,15                    10,66
   segments              1        7,442           9        (66)        (545)          383      (100)       (412)        308
   Consolidate       11,32
   d               $     8      $ 6,123     $ 8,994     $ (500)    $ (2,468)      $ (1,759)   $ (518)   $ (1,653)   $ (1,066)



                        False and Misleading Statements Issued During the Relevant Period

            August 2, 2018 Press Release

            100.       The Relevant Period begins on August 2, 2018. On that day, the Company issued a

   press release entitled “Icahn Enterprises L.P. Reports Second Quarter 2018 Financial Results” The

   press release stated:

            Icahn Enterprises L.P. (NASDAQ:IEP) is reporting second quarter 2018 revenues
            of $3.6 billion and net income attributable to Icahn Enterprises of $309 million, or
            $1.70 per depositary unit, including $164 million from continuing operations, or



                                                          - 36 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 37 of 69




          $0.90 per depositary unit. For the three months ended June 30, 2017 revenues were
          $4.5 billion and net income attributable to Icahn Enterprises was $1.6 billion, or
          $9.51 per depositary unit, including $1.5 billion from continuing operations, or
          $9.20 per depositary unit. The prior year period includes a $1.0 billion gain, net of
          tax, from the sale of ARL in June 2017. For the three months ended June 30, 2018,
          Adjusted EBITDA attributable to Icahn Enterprises was $356 million compared to
          $288 million for the three months ended June 30, 2017. For the three months ended
          June 30, 2018, Adjusted EBIT attributable to Icahn Enterprises was $270 million
          compared to $195 million for the three months ended June 30, 2017.

          For the six months ended June 30, 2018, revenues were $6.7 billion and net income
          attributable to Icahn Enterprises was $446 million, or $2.48 per depositary unit,
          including $272 million from continuing operations, or $1.52 per depositary unit.
          For the six months ended June 30, 2017 revenues were $7.0 billion and net income
          attributable to Icahn Enterprises was $1.5 billion, or $9.77 per depositary unit,
          including $1.5 billion from continuing operations, or $9.23 per depositary unit. The
          prior year period includes a $1.0 billion gain, net of tax, from the sale of ARL in
          June 2017. For the six months ended June 30, 2018, Adjusted EBITDA attributable
          to Icahn Enterprises was $664 million compared to $468 million for the six months
          ended June 30, 2017. For the six months ended June 30, 2018, Adjusted EBIT
          attributable to Icahn Enterprises was $490 million compared to $287 million for the
          six months ended June 30, 2017.

          For the six months ended June 30, 2018 indicative net asset value increased to $8.4
          billion compared to $7.9 billion as of December 31, 2017.

          February 28, 2019 Press Release

          101.   The Company issued a press release on February 28, 2019, titled “Icahn Enterprises

   L.P. Report Fourth Quarter and Full Year 2018 Financial Results.” The press release stated:

          Icahn Enterprises L.P. (NASDAQ:IEP) is reporting for the year ended December
          31, 2018, revenues of $11.8 billion and net income attributable to Icahn Enterprises
          of $1.5 billion, or $11.46 per depositary unit, including a loss of $213 million from
          continuing operations, or $1.16 per depositary unit. For the year ended December
          31, 2017, revenues were $12.6 billion and net income attributable to Icahn
          Enterprises was $2.4 billion, or $14.80 per depositary unit, including $2.3 billion
          from continuing operations, or $13.84 per depositary unit. For the year ended
          December 31, 2018, Adjusted EBITDA attributable to Icahn Enterprises was $561
          million compared to $642 million for the year ended December 31, 2017. For the
          year ended December 31, 2018, Adjusted EBIT attributable to Icahn Enterprises
          was $264 million compared to $323 million for the year ended December 31, 2017.



                                                 - 37 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 38 of 69




           For the fourth quarter of 2018, revenues were $2.8 billion and net income
           attributable to Icahn Enterprises was $935 million, or $8.03 per depositary unit,
           including a loss of $434 million from continuing operations, or $2.28 per depositary
           unit. For the three months ended December 31, 2017, revenues were $2.5 billion
           and net income attributable to Icahn Enterprises was $298 million, or $1.76 per
           depositary unit, including $279 million from continuing operations, or $1.65 per
           depositary unit. For the three months ended December 31, 2018, Adjusted EBITDA
           attributable to Icahn Enterprises was a loss of $104 million compared to a loss of
           $96 million for the three months ended December 31, 2017. For the three months
           ended December 31, 2018, Adjusted EBIT attributable to Icahn Enterprises was a
           loss of $176 million compared to a loss of $177 million for the three months ended
           December 31, 2017.

           For the year ended December 31, 2018, indicative net asset value increased to $8.2
           billion compared to $7.9 billion as of December 31, 2017.

           102.    The February 28, 2019 press release outlined the history of dividend distribution,

   stating in relevant part:

           Distribution

           Icahn Enterprises has a long history of endeavoring to return capital to its unit
           holder by declaring and paying significant and consistent annual distributions.
           As a reminder-

           Icahn Enterprises declared annual distributions of $8.00 per depository unit for
           fiscal year 2019

           Icahn Enterprises declared annual distributions of $7.00 per depository unit for
           fiscal year 2018

           Icahn Enterprises declared annual distributions of $6.00 per depository unit for
           fiscal year 2017

           Icahn Enterprises declared annual distributions of $6.00 per depository unit for
           fiscal year 2016

           Icahn Enterprises declared annual distributions of $6.00 per depository unit for
           fiscal year 2015

           Icahn Enterprises declared annual distributions of $6.00 per depository unit for
           fiscal year 2014



                                                  - 38 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 39 of 69




           Most recently, on February 26, 2019, the Board of Directors of the general partner
           of Icahn Enterprises declared a quarterly distribution in the amount of $2.00 per
           depository unit ($8.00 per unit annualized) which will be paid on or about April 17,
           2019 to depository unitholders of record at the close of business on March 11, 2019.
           Depository unitholder will have until April 8, 2019 to make an election to receive
           either cash or additional depository units; if a holder does not make an election, it
           will automatically be deemed to have elected to receive the dividend in cash.
           Depository unit holders who elect to receive additional depository units will receive
           units valued at the volume weighted average trading price of the units on NASDAQ
           during the 5 consecutive trading days ending April 15, 2019. No fractional
           depository units will be issued pursuant to the distribution payment. Icahn
           Enterprises will make a cash payment in lieu of issuing fractional depository units
           to any holders electing to receive depository units. Any holders that would only be
           eligible to receive a fraction of a depository unit based on the above calculation will
           receive a cash payment.

           Icahn Enterprises L.P., a master limited partnership, is a diversified holding
           company engaged in eight primary business segments: Investment, Energy,
           Automotive, Food Packaging, Metals, Real Estate, Home Fashion and Mining.

           February 28, 2020 Press Release

           103.   The Company issued a press release on February 28, 2020, titled “Icahn Enterprises

   L.P. Reports Fourth Quarter and Full Year 2019 Financial Results.” The press release addressed

   the decrease in net asset value, and the $2.00 per unit dividend declared. The press release stated

   that:

           Icahn Enterprises L.P. (NASDAQ:IEP) is reporting fourth quarter 2019 revenues
           of $2.6 billion and net loss attributable to Icahn Enterprises of $157 million, or
           $0.74 per depositary unit, including a loss from continuing operations of $149
           million, or $0.70 per depositary unit. For the three months ended December 31,
           2018, revenues were $2.8 billion and net income attributable to Icahn Enterprises
           was $930 million, or $8.01 per depositary unit, including a loss from continuing
           operations of $439 million, or $2.30 per depositary unit. For the three months ended
           December 31, 2019, Adjusted EBITDA attributable to Icahn Enterprises was $111
           million compared to $(108) million for the three months ended December 31, 2018.
           For the three months ended December 31, 2019, Adjusted EBIT attributable to
           Icahn Enterprises was $22 million compared to $(188) million for the three months
           ended December 31, 2018.




                                                   - 39 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 40 of 69




          For the year ended December 31, 2019 revenues were $9.0 billion and net loss
          attributable to Icahn Enterprises was $1.1 billion, or $5.38 per depositary unit,
          including a loss from continuing operations of $1.1 billion, or $5.23 per depositary
          unit. For the year ended December 31, 2018, revenues were $11.8 billion and net
          income attributable to Icahn Enterprises was $1.5 billion, or $11.33 per depositary
          unit, including a loss from continuing operations of $238 million, or $1.29 per
          depositary unit. For the year ended December 31, 2019, Adjusted EBITDA
          attributable to Icahn Enterprises was $(462) million compared to $557 million for
          the year ended December 31, 2018. For the year ended December 31, 2019,
          Adjusted EBIT attributable to Icahn Enterprises was $(818) million compared to
          $224 million for the year ended December 31, 2018.

          For the year ended December 31, 2019, indicative net asset value decreased to
          $7.07 billion compared to $8.15 billion as of December 31, 2018.

          On February 26, 2020, the Board of Directors of the general partner of Icahn
          Enterprises declared a quarterly distribution in the amount of $2.00 per depositary
          unit, which will be paid on or about April 28, 2020 to depositary unitholders of
          record at the close of business on March 20, 2020. Depositary unitholders will have
          until March 17, 2020 to make an election to receive either cash or additional
          depositary units; if a unitholder does not make an election, it will automatically be
          deemed to have elected to receive the distribution in cash. Depositary unitholders
          who elect to receive additional depositary units will receive units valued at the
          volume weighted average trading price of the units on NASDAQ during the 5
          consecutive trading days ending April 24, 2020. No fractional depositary units will
          be issued pursuant to the distribution payment. Icahn Enterprises will make a cash
          payment in lieu of issuing fractional depositary units to any unitholders electing to
          receive depositary units. Any unitholders that would only be eligible to receive a
          fraction of a depositary unit based on the above calculation will receive a cash
          payment.

          February 26, 2021 Press Release

          104.    The Company issued a press release on February 26, 2021, entitled “Icahn

   Enterprises L.P. Reports Fourth Quarter and Full Year 2020 Financial Results” The press release

   did not address the net asset value of the Company but did discuss the $2.00 per unit dividend

   declared. The press release stated that:

          Icahn Enterprises L.P. (Nasdaq:IEP) is reporting fourth quarter 2020 revenues of
          $2.8 billion and net income attributable to Icahn Enterprises of $146 million, or
          $0.61 per depositary unit. For the three months ended December 31, 2019, revenues


                                                 - 40 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 41 of 69




         were $2.6 billion and net loss attributable to Icahn Enterprises was $157 million, or
         a loss of $0.74 per depositary unit, including a loss of $149 million from continuing
         operations, or a loss of $0.70 per depositary unit. For the three months ended
         December 31, 2020, Adjusted EBITDA attributable to Icahn Enterprises was $420
         million compared to $111 million for the three months ended December 31, 2019.
         For the three months ended December 31, 2020, Adjusted EBIT attributable to
         Icahn Enterprises was $328 million compared to $22 million for the three months
         ended December 31, 2019.

         For the year ended December 31, 2020, revenues were $6.1 billion and net loss
         attributable to Icahn Enterprises was $1.7 billion, or a loss of $7.33 per depositary
         unit. For the year ended December 31, 2019, revenues were $9.0 billion and net
         loss attributable to Icahn Enterprises was $1.1 billion, or a loss of $5.38 per
         depositary unit, including a loss of $1.1 billion from continuing operations, or $5.23
         per depositary unit. For the year ended December 31, 2020, Adjusted EBITDA
         attributable to Icahn Enterprises was $(738) million compared to $(462) million for
         the year ended December 31, 2019. For the year ended December 31, 2020,
         Adjusted EBIT attributable to Icahn Enterprises was $(1.1) billion compared to
         $(818) million for the year ended December 31, 2019.

         On February 24, 2021, the Board of Directors of the general partner of Icahn
         Enterprises declared a quarterly distribution in the amount of $2.00 per depositary
         unit, which will be paid on or about April 28, 2021 to depositary unitholders of
         record at the close of business on March 26, 2021. Depositary unitholders will have
         until April 16, 2021 to make an election to receive either cash or additional
         depositary units; if a holder does not make an election, it will automatically be
         deemed to have elected to receive the distribution in additional depositary units.
         Depositary unitholders who elect to receive (or are deemed to have elected to
         receive) additional depositary units will receive units valued at the volume
         weighted average trading price of the units on Nasdaq during the 5 consecutive
         trading days ending April 23, 2021. No fractional depositary units will be issued
         pursuant to the distribution payment. Icahn Enterprises will make a cash payment
         in lieu of issuing fractional depositary units to any holders electing to receive
         depositary units. Any holders that would only be eligible to receive a fraction of a
         depositary unit based on the above calculation will receive a cash payment. For
         distributions declared by the Board in prior quarters, the default election (for
         holders that did not make an election) was a cash distribution. The default election
         (for holders that do not make an election) for the distribution to be paid on or about
         April 28, 2021 will be a distribution paid in additional depository units, a change
         from prior quarters.

         February 25, 2022 Press Release




                                                 - 41 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 42 of 69




           105.   The Company issued a press release on February 25, 2022, titled “Icahn Enterprises

   L.P. Reports Fourth Quarter and Full Year 2021 Financial Results.” The press release addressed

   the increase in net asset value, and the $2.00 per unit dividend declared. The press release stated

   that:

           Icahn Enterprises L.P. (Nasdaq: IEP) is reporting fourth quarter 2021 revenues of
           $2.3 billion and net loss attributable to Icahn Enterprises of $396 million, or a loss
           of $1.72 per depositary unit. For the three months ended December 31, 2020,
           revenues were $2.8 million and net income attributable to Icahn Enterprises was
           $146 million, or $0.61 per depositary unit. For the three months ended December
           31, 2021, Adjusted EBITDA attributable to Icahn Enterprises was ($443) million
           compared to $423 million for the three months ended December 31, 2020.

           For the year ended December 31, 2021, revenues were $11.3 billion and net loss
           attributable to Icahn Enterprises was $518 million, or a loss of $2.32 per depositary
           unit. For the year ended December 31, 2020, revenues were $6.1 billion and net
           loss attributable to Icahn Enterprises was $1.7 billion, or a loss of $7.33 per
           depositary unit. For the year ended December 31, 2021, Adjusted EBITDA
           attributable to Icahn Enterprises was $273 million compared to ($735) million for
           the year ended December 31, 2020.

           The full-year 2021 results were negatively impacted by losses of $1.3 billion on
           IEP's Investment segment short positions (used to hedge our long positions). Other
           losses included $435 million of RINs expense and $205 million of Automotive
           transformation losses and inventory write-downs.

           For the twelve months ended December 31, 2021, indicative net asset value
           increased by $1.6 billion to $5.1 billion despite the headwinds mentioned above.
           The change in indicative net asset value includes, among other things, changes in
           the fair value of certain subsidiaries which are not included in our GAAP earnings
           reported above. In addition, in the third and fourth quarters of 2021, we revised how
           we estimate the fair value of our Automotive segment's owned real estate to reflect
           the improvement of its real estate leasing operations and its Services business to
           reflect current market multiples which better reflects the fair value of the assets,
           both of which contributed to the positive change in indicative net asset value.

           On February 23, 2022, the Board of Directors of the general partner of Icahn
           Enterprises declared a quarterly distribution in the amount of $2.00 per depositary
           unit, which will be paid on or about April 27, 2022, to depositary unitholders of
           record at the close of business on March 18, 2022. Depositary unitholders will have
           until April 14, 2022, to make a timely election to receive either cash or additional


                                                   - 42 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 43 of 69




          depositary units. If a unitholder does not make a timely election, it will
          automatically be deemed to have elected to receive the distribution in additional
          depositary units. Depositary unitholders who elect to receive (or who are deemed
          to have elected to receive) additional depositary units will receive units valued at
          the volume weighted average trading price of the units during the five consecutive
          trading days ending April 22, 2022. Icahn Enterprises will make a cash payment in
          lieu of issuing fractional depositary units to any unitholders electing to receive (or
          who are deemed to have elected to receive) depositary units.

          February 24, 2023 Press Release

          106.    On February 24, 2023, the Company issued a press release titled “Icahn Enterprise

   L.P. Reports Fourth Quarter 2022 Financial Results.” The press release addressed the increase in

   net asset value, and the $2.00 per unit dividend declared. The press release stated that:

          Icahn Enterprises L.P. (Nasdaq:IEP) is reporting revenues of $14.1 billion and net
          loss attributable to Icahn Enterprises of $183 million, or $0.57 per depositary unit,
          for the twelve months ended December 31, 2022. For the twelve months ended
          December 31, 2021, revenues were $11.3 billion and net loss attributable to Icahn
          Enterprises was $518 million, or $2.32 per depositary unit. Adjusted EBITDA
          attributable to Icahn Enterprises was $758 million for the twelve months ended
          December 31, 2022, compared to $273 million for the twelve months ended
          December 31, 2021.

          Fourth quarter 2022 revenues were $3.1 billion and net loss attributable to Icahn
          Enterprises was $255 million, or a loss of $0.74 per depositary unit. For the three
          months ended December 31, 2021, revenues were $2.3 billion and net loss
          attributable to Icahn Enterprises was $396 million, or a loss of $1.72 per depositary
          unit. For the three months ended December 31, 2022, Adjusted EBITDA
          attributable to Icahn Enterprises was a loss of $54 million compared to a loss of
          $443 million for the three months ended December 31, 2021.

          For the twelve months ended December 31, 2022, indicative net asset value
          increased by $522 million to $5.6 billion. The change in indicative net asset value
          includes, among other things, changes in the fair value of certain subsidiaries which
          are not included in our GAAP earnings reported above.

          On February 22, 2023, the Board of Directors of the general partner of Icahn
          Enterprises declared a quarterly distribution in the amount of $2.00 per depositary
          unit, which will be paid on or about April 19, 2023, to depositary unitholders of
          record at the close of business on March 13, 2023. Depositary unitholders will have
          until April 6, 2023, to make a timely election to receive either cash or additional


                                                  - 43 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 44 of 69




          depositary units. If a unitholder does not make a timely election, it will
          automatically be deemed to have elected to receive the distribution in additional
          depositary units. Depositary unitholders who elect to receive (or who are deemed
          to have elected to receive) additional depositary units will receive units valued at
          the volume weighted average trading price of the units during the five consecutive
          trading days ending April 14, 2023. Icahn Enterprises will make a cash payment in
          lieu of issuing fractional depositary units to any unitholders electing to receive (or
          who are deemed to have elected to receive) depositary units.

          107.    The above statements identified in ¶¶ 100-106 were materially false and/or

   misleading, and failed to disclose material adverse fact about the Company’s business, operations,

   and prospects. Specifically, Defendants failed to disclose to investors: (1) that the Company’s was

   artificially inflating its net asset value; (2) the Company was using money from new purchases of

   the Company’s units to pay the dividends to old investors in a “ponzi-like” scheme; (3) as a result,

   the Company would be subject to increased criminal and/or regulatory scrutiny; (4) consequently,

   Defendants’ positive statements about the Company’s business, operations, and prospects were

   materially misleading and/or lacked a reasonable basis; and (5) the Company failed to maintain

   internal controls

                                          The Truth Emerges

          Hindenburg Research Report

          108.    On May 2, 2023, short-seller firm Hindenburg Research published The Report,

   revealing that Icahn Enterprises’ “last reported indicative year-end [net asset value] of $5.6 billion

   is inflated by at least 22%.” Furthermore, The Report further found that the Company operates

   with a “ponzi-like economic structure” and “has been using money taken in from new investors to

   pay out dividends to old investors.” The Report stated:

          Icahn Enterprises (IEP) is an ~$18 billion market cap holding company run by
          corporate raider and activist investor Carl Icahn, who, along with his son Brett, own
          approximately 85% of the Company.


                                                   - 44 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 45 of 69




          Our research has found that IEP units are inflated by 75%+ due to 3 key reasons:
          (1) IEP trades at a 218% premium to its last reported net asset value (NAV), vastly
          higher than all comparable (2) we’ve uncovered clear evidence of inflated valuation
          marks for IEP’s less liquid and private assets (3) the company has suffered
          additional performance losses year to date following its last disclosure.

          Most closed-end holding companies trade around or at a discount to their NAVs.
          For comparison, vehicles run by other star managers, like Dan Loeb’s Third Point
          and Bill Ackman’s Pershing Square, trade at discounts of 14% and 35% to NAV,
          respectively.

          We further compared IEP to all 526 U.S.-based closed end funds (CEFs) in
          Bloomberg’s database. Icahn Enterprises’ premium to NAV was higher than all of
          them and more than double the next highest we found.

          A reason for IEP’s extreme premium to NAV, based on a review of retail investor-
          oriented media, is that average investors are attracted to (a) IEP’s large dividend
          yield and (b) the prospect of investigating alongside Wall Street legend Carl Icahn.
          Institutional investors have virtually no ownership is IEP.

   (Emphasis added)

          109.   The Report also discussed the Company’s dividend yield and the “ponzi-like”

   scheme, stating:

          Icahn Enterprises’ current dividend yield is ~15.8%, making it the highest
          dividend yield of any U.S. large cap company by far, with the next closest at ~9.9%
          As a result of the company’s elevated unit price, its annual dividend rate equates to
          as absurd 50.5% of last reported indicative net asset value.

          The company’s outlier dividend is made possible (for now) because Carl Icahn
          owns roughly 85% of IEP and has been largely taking dividends in units (instead
          of cash), reducing the overall cash outlay required to meet the dividend payment
          for remaining unitholders.

          The dividend is entirely unsupported by IEP’s cash flow and investment
          performance, which has been negative for years. IEP’s investment portfolio has
          lost ~53% since 2014. The company’s free cash flow figures show IEP has
          cumulatively burned -$4.9 billion over the same period.

          Despite its negative financial performance, IEP has raised its dividend 3 times since
          2014. IEP’s most recent dividend increase came in 2019, when it raised quarterly



                                                 - 45 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 46 of 69




         distributions from $1.75 50 $2.00 per unit. IEP’s free cash flow was negative $1.7
         billion in the same year.

         Given that the investment and operating performance of IEP has burned billions in
         capital, the company has been forced to support its dividend using regular open
         market sales of IEP units through at-the-market (ATM) offerings, totaling $1.7
         billion since 2019.

         In brief, Icahn has been using money taken in from new investors to pay out
         dividends to old investors. Such ponzi-like economic structures are sustainable
         only to the extent that new money is willing to risk being the last one “holding
         the bag.”

         Supporting this structure is Jeffries, the only large investment bank with research
         coverage on IEP. It has continuously placed a “buy” rating on IEP units. In one of
         the worst cases of sell-side research malpractice we’ve seen, Jeffries’ research
         assumes in all cases, even in its bear case, that IEP’s dividend will be safe “into
         perpetuity”, despite providing no support for that assumption.

         Since 2019, one bank has run all of IEP’s $1.7 billion in ATM offerings: Jeffries.
         In essence, Jeffries is luring in retail investors through its research arm under the
         guise of IEP’s ‘safe’ dividend, while also selling billions in IEP units through its
         investment banking arm to support the very same dividend.

   (Emphasis added)

         110.   The Report continued discussing the inflated net asset value, stating:

         Adding to evidence of IEP’s unsustainability, we estimate that IEP’s last reported
         indicative year-end NAV of $5.6 billion is inflated by at least 22%, due to a
         combination of overly aggressive marks on IEP’s less liquid /private investments
         and continued year to date underperformance.

         In one example, IEP owns 90% of publicly traded meat packaging business that it
         valued at $243 million at year-end. The company had a market value of only $89
         million at the time. In other words, IEP marked the value of its public company
         equity holdings 204% above the prevailing public market price.

         The mark is even more irregular given that IEP bought over a million shares of the
         company in December before immediately writing up the value of those shares by
         ~194% in the same month.

         In another instance, IEP marked its “Automotive Parts” division at $381 million in
         December 2022. Its key subsidiary declared bankruptcy a month later.



                                                - 46 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 47 of 69




          IEP reported $455 million in “real estate holdings” in its most recent quarter. The
          reported values in this segment have been remarkably stable for years despite
          declining net income and despite including (i) the Trump Plaza in Atlantic City,
          which was razed to the ground in 2021’ (ii) a country club that became nearly
          insolvent in 2020 before ownership reverted to its members in 2021; and (iii) a lack
          of transparency on other assets and valuations.

          The irregular valuation marks fit a pattern: In January of 2020, UBS dropped
          coverage of IEP citing “lack of transparency” following its research showing marks
          that were “divergent from their public market values”, among other issues.

          Beyond aggressive marks, Icahn’s liquid portfolio has continued to generate losses.
          Our analysis of Icahn’s latest December 2022 13-F filings indicates that IEP’s long
          holdings have lost ~$471 million in value year to date, despite the S&P gaining
          ~9.2% in the same time frame.

          IEP disclosed that its investment fund had a 47% notional short bet in its December
          2022 filings. Given the positive market performance, we estimate this short bet has
          contributed at least a further $272 million in year-to-date losses.

          Overall, we estimate IEP’s current NAV as being closer to 4.4 billion, or 22%
          lower than its disclosed year-end indicative NAV of $5.6 billion. The analysis
          suggests that units currently trade at a 310% premium to NAV, with an annual
          dividend rate of 64% of NAV.

   (Emphasis added)

          111.      The Report continued discussing the Company’s limited financial flexibility. The

   Report stated:


          Tightening matters further, IEP is highly levered, with $5.3 billion in Holdco debt
          and maturities of $ 1.1 billion, $1.35 billion, and $1.35 billion due to 2024, 2025,
          and 2026, respectively.

          IEP’s debt covenants limit the company’s financial flexibility: IEP is not permitted
          to incur additional indebtedness and is only allowed to refinance old debt. With
          interest rates having increased, IEP will need to pay significantly higher interest
          expenses on future refinancings.

          Carl Icahn’s ownership in IEP comprises about 85% of his overall net worth,
          according to Forbes, giving him limited room to maneuver with his own outside


                                                  - 47 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 48 of 69




          capital. We have assessed that Icahn has little ability or reason to bail out IEP with
          a capital injection, particularly at such elevated unit prices.

          Further underscoring Icahn’s limited financial flexibility, he has pledged 181.4
          million units, ~60% of his IEP holdings, for personal margin loans. Margin loans
          are a risky form of debt often reliant on high share (or unit) prices.

          Icahn has not disclosed basic metrics around his margin loans like loan to value
          (LTV), maintenance thresholds, principal amount, or interest rates. We think
          unitholders deserve this information in order to understand the risk of margin call
          should IEP unit prices revert toward NAV, a reality we see as inevitable.

          Given limited financial flexibility and worsening liquidity, we expect Icahn
          Enterprises will eventually cut or eliminate its dividend entirely, barring a miracle
          turnaround in investment performance.

          Overall, we think Icahn, a legend of Wall Street, has made a classic mistake of
          taking on too much leverage in the face of sustained loses: a combination that rarely
          ends well.

          112.    Upon this news, Icahn Enterprise’s unit price fell $10.06 per share, or 20%, to close

   at $40.36 per share on May 2, 2023

          May 10, 2023 10-Q

          113.    On May 10, 2023, before opening of the market the Company filed its 1Q23 10-Q,

   Quarterly Report with the SEC for the period ended March 31, 2023. In the report, the Company

   stated that the U.S. Attorney’s Office for the Southern District of New York contacted the

   Company on May 3, 2023, seeking production of information relating to the Company, and certain

   of its affiliates,’ “corporate governance, capitalization, securities offerings, dividends, valuation,

   marketing materials, due diligence and other materials.” The Company claimed it is “cooperating

   with the request” and is “providing documents in response to the voluntary request for

   information.” The Company stated:

          The U.S. Attorney’s office for the Southern District of New York contacted Icahn
          Enterprises L.P. on May 3, 2023 seeking production of information relating to it


                                                   - 48 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 49 of 69




          and certain of its affiliates’ corporate governance, capitalization, securities
          offerings, dividends, valuation marketing materials, due diligence and other
          materials. We are cooperating with the request and are providing documents in
          response to any voluntary request for information. The U.S. Attorney’s office has
          not made any claims or allegations against us of Mr. Icahn with respect to the
          foregoing inquiry. We believe that we maintain a strong compliance program and,
          while no assurances can be made and we are still evaluating the matter, we do not
          currently believe this inquiry will have material impact on our business, financial
          condition, results of operation or cash flows.

          114.    The 1Q23 10-Q also reported a $226 million charge related to Auto Plus, which

   Hindenburg had identified as an overvalued holding in their report:

          With respect to our Automotive segment, we have invested significant resources in
          various initiative to remain competitive and stimulate growth. Despite these efforts,
          in January 2023, Auto Plus filed the Chapter 11 Cases in the Bankruptcy Court. As
          a result of this filing, the Company has determined that it no longer controls Auto
          Plus and has deconsolidated its investment in Auto Plus effective as of January 31,
          2023 resulting in a non-cash charge of $226 million recorded in the three months
          ended March 31, 2023 and determined that out remaining equity investment in Auto
          Plus in now worth $0

          115.    Upon this news, the Company’s unit price fell $5.75 per unit, or 15.1%, to close at

   $32.22 per share on May 10, 2023.

                             DAMAGES TO ICAHN ENTERPRISES

          116.    As a direct and proximate result of the Individual Defendants’ conduct, the

   Company has lost and expended, and will lose and expend, many millions of dollars.

          117.    Such expenditures include, but are not limited to, legal fees associated with the

   Securities Class Actions filed against the Company and Defendants Icahn, Willetts, Papapostolou,

   Cozza, and Cho and the U.S. Attorney’s office investigation and action against the Company,

   amounts paid to outside lawyers, accountants, and investigators in connection to these actions.

          118.    Such costs include, but are not limited to, compensation, bonuses, and benefits paid

   to the Individual Defendants who breached their fiduciary duties to the Company.


                                                 - 49 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 50 of 69




           119.    Such losses also include losses of revenue caused by customers’ loss of trust in the

   Company’s business.

           120.    As a direct and proximate result of the Individual Defendants’ conduct, Icahn

   Enterprises has also suffered and will continue to suffer a loss of reputation and goodwill, and a

   “liar’s discount” that will plague the Company’s unit-price in the future due to the Company’s and

   their misrepresentations and the Individual Defendants’ breaches of fiduciary duties and unjust

   enrichment.

                                    DERIVATIVE ALLEGATIONS

           121.    Plaintiff brings this action derivatively and for the benefit of Icahn Enterprises to

   redress injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of

   their fiduciary duties as directors and/or officers of Icahn Enterprises GP, and unjust enrichment,

   as well as the aiding and abetting thereof.

           122.    Icahn Enterprises is named solely as a nominal party in this action. This is not a

   collusive action to confer jurisdiction on this Court that it would not otherwise have.

           123.    Plaintiff is, and has been, an Icahn Enterprises unitholder at all relevant times

   during the Relevant Period. Plaintiff will adequately and fairly represent the interests of Icahn

   Enterprises in enforcing and prosecuting its rights, and, to that end, has retained competent

   counsel, experienced in derivative litigation, to enforce and prosecute this action.

                                DEMAND FUTILITY ALLEGATIONS

           124.    Plaintiff incorporates by reference and re-alleges each and every allegation stated

   above as if fully set forth herein.




                                                  - 50 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 51 of 69




          125.    A pre-suit demand on the Board is futile and, therefore, excused. At the time of

   filing of this action, the Board consists of the following nine Individuals: Defendants Icahn,

   Willetts, Papapostolou, Barton, Brett, Krongard, Mongillo and Nevin (collectively, the “Director-

   Defendants”). As well as non-party director Nancy Dunlap (“Dunlap”) (collectively, the

   “Directors”) Plaintiff only needs to allege demand futility as to five of the nine Directors that are

   on the Board at the time this action is commenced.

          126.    Demand is excused as to all of the Director-Defendants because each one of them

   faces, individually and collectively, a substantial likelihood of liability as a result of their

   engagement, either knowingly or recklessly, in the schemes alleged herein, including schemes to

   make and/or cause the Company to make false and misleading statements and omissions of

   material fact while inflating net asset value, which renders them unable to impartially investigate

   the charges and decide whether to pursue action against themselves and the other perpetrators of

   the schemes.

          127.    In complete abdication of their fiduciary duties, the Director-Defendants either

   knowingly or recklessly participated in the conduct alleged herein. The fraudulent schemes were

   intended to make the Company appear more profitable and attractive to investors. As a result of

   the foregoing, the Director-Defendants breached their fiduciary duties, face a substantial likelihood

   of liability, are not disinterested, and demand upon them is futile, and thus excused.

          128.    Several of the Directors hold positions on a specific Board committee. The Board

   has one standing committee: the Audit Committee, according to its respective charter, this

   committee has the following responsibilities:

          Audit committee



                                                   - 51 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 52 of 69




          The role of the Audit Committee (the “Committee”) of the Board of Directors of
          the General Partner (the “Board,” and each member thereof a “Director”) is to assist
          the Board in its fulfillment of its responsibility for the oversight of:

          •   The quality or integrity of the Partnership’s financial statements;

          •   the performance and independence of the Partnership’s independent auditor;

          •   the performance of the Partnership’s internal audit function; and

          •   the Partnership’s compliance with legal and regulatory requirements.

          129.    Additional reasons that demand on Defendant Icahn is futile follow. Defendant

   Icahn is Icahn Enterprises GP’s Chairman of the Board, and is the Company’s controlling

   shareholder, thus, as the Company admits, he is a non-independent director. Defendant Icahn was

   Icahn Enterprises’ Chairman and controlling shareholder when the Company inflated its net asset

   value and operated its business with a “ponzi-like dividend scheme,” and thus, was ultimately

   responsible for the conduct of the Company during that time. Defendant Icahn conducted little, if

   any, oversight of the Company’s internal controls over public reporting of financial statements and

   of the Company’s engagement in the schemes described herein, consciously disregarded his duties

   to monitor such controls over reporting and engagement in the schemes, and consciously

   disregarded his duties to protect corporate assets. Defendant Icahn is also named as a defendant in

   the Securities Class Actions. Thus, for these reasons, too, Defendant Icahn breached his fiduciary

   duties, faces a substantial likelihood of liability, is not independent or disinterested, and thus

   demand upon him is futile and, therefore, excused.

          130.    Additional reasons that demand on Defendant Willetts is futile follow. Defendant

   Willetts has served as the CEO since November 2021, and as a Company director since June 2021.

   Thus, as the Company admits, he is a non-independent director. He received significant



                                                  - 52 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 53 of 69




   compensation from his service as an executive officer and director. Defendant Willetts is beholden

   to Defendant Icahn. Prior to serving as CEO, Defendant Willetts also served as CFO of Icahn

   Enterprises. Furthermore, Defendant Willetts also serves as director for Viskase Companies, Inc.,

   CVR Energy Inc. and CVR Partners LP, each of which are indirectly controlled by Defendant

   Icahn. Moreover, Defendant Willetts conducted little, if any, oversight of the Company’s internal

   controls over public reporting of financial statements and of the Company’s engagement in the

   schemes described herein, consciously disregarded his duties to monitor such controls over

   reporting and engagement in the schemes, and consciously disregarded his duties to protect

   corporate assets. Defendant Willetts is also named as a defendant in the Securities Class Actions.

   Thus, for these reasons, too, Defendant Willetts breached his fiduciary duties, faces a substantial

   likelihood of liability, is not independent or disinterested, and thus demand upon him is futile and,

   therefore, excused.

          131.    Additional reasons that demand on Defendant Papapostolou is futile follow.

   Defendant Papapostolou has served as CFO since November 2021, Chief Accounting Officer since

   March 2020, and a director since December 2021. Thus, as the Company admits he is a non-

   independent director. Moreover, Defendant Papapostolou was on the Board at the time the

   Company was inflating its net asset value and engaged in the “ponzi-like” dividend scheme.

   Defendant Papapostolou is beholden to Defendant Icahn; Icahn Enterprises provides Defendant

   Papapostolou with his principal occupation serving as both CFO and Chief Accounting Officer of

   Icahn Enterprises. Furthermore, from March 2007 to March 2020, Defendant Papapostolou has

   served in various progressive accounting positions at Icahn Enterprises. Defendant Papapostolou

   also has served as a director of Viskase Companies, Inc., since April 2020, a company indirectly



                                                  - 53 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 54 of 69




   controlled by Defendant Icahn. As a director, Defendant Papapostolou conducted little, if any,

   oversight of the Company’s internal controls over public reporting of financial statements and of

   the Company’s engagement in the schemes described herein, consciously disregarded his duties to

   monitor such controls over reporting and engagement in the schemes, and consciously disregarded

   his duties to protect corporate assets. Defendant Papapostolou is also named as a defendant in the

   Securities Class Actions. Thus, for these reasons, too, Defendant Papapostolou breached his

   fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested, and

   thus demand upon him is futile and, therefore, excused.

          132.    Additional reasons that demand on Defendant Barton is futile follow. Defendant

   Barton has served as a director since September 2019. Defendant Barton is beholden to Defendant

   Icahn. Defendant Barton has served as CFO of IEH Auto Parts LLC, a subsidiary of Icahn

   Enterprises since July 2021, and as both CEO and CFO of IEH Auto Parts LLC since September

   2021. IEH Auto Parts LLC provides Defendant Barton with her principal occupation. Furthermore,

   Director Barton serves on the board and the audit committee for Viskase Companies, Inc., a

   subsidiary of Icahn Enterprises from May 2016 until January 2022. Furthermore, Defendant

   Barton served on the board and audit committee of Trump Entertainment Resorts, Inc., a subsidiary

   of Icahn Enterprises. Defendant Barton was on the Company’s Board at the time the Company

   was inflating its net annual value and engaged in the “ponzi-like” dividend scheme. As director,

   Defendant Barton conducted little, if any, oversight of the Company’s internal controls over public

   reporting of financial statements and of the Company’s engagement in the schemes described

   herein, consciously disregarded her duties to monitor such controls over reporting and engagement

   in the schemes, and consciously disregarded his duties to protect corporate assets. Thus, for these



                                                   - 54 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 55 of 69




   reasons, too, Defendant Barton breached her fiduciary duties, faces a substantial likelihood of

   liability, is not independent or disinterested, and thus demand upon her is futile and, therefore,

   excused.

          133.    Additional reasons that demand on Defendant Brett is futile follow. Defendant Brett

   has served on the Board since October 2020. The Company admits, in its 2022 10-K, that

   Defendant Brett is a non-independent director. Director Brett is beholden to Defendant Icahn;

   Defendant Brett has served in several roles for Icahn Enterprises and its subsidiaries including as

   a Portfolio Manager for Icahn Capital LP, and a consultant for Icahn Enterprises. Furthermore,

   Defendant Brett is the son of the controlling shareholder, Defendant Icahn. Defendant Brett was

   on the Company’s Board at the time the Company was engaged in inflating its net annual value

   and engaged in the “ponzi-like” dividend scheme. As a director, he conducted little if any oversight

   of the Company’s internal control over public reporting of financial statements and of the

   Company’s engagement in the schemes described herein, consciously disregarded his duties to

   monitor such control over reporting and engagement in the schemes, and consciously disregarded

   his duties to protect corporate assets. Thus, for these reasons, too, Defendant Brett breached his

   fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested, and

   thus demand upon him is futile and, therefore, excused.

          134.    Additional reasons that demand on Defendant Krongard is futile follow. Defendant

   Krongard has served as a director since March 2019. Defendant Krongard was a member of the

   Audit Committee during the Relevant Period and is thus especially culpable for the Company’s

   false and misleading statements and omissions relating to financial information, including the

   material omissions that the Company’s net asset value was inflated. As a director, and member of



                                                   - 55 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 56 of 69




   the Audit Committee he conducted little, if any, oversight of the Company’s internal controls over

   public reporting of financial statements and of the Company’s engagement in the schemes

   described herein, consciously disregarded his duties to monitor such controls over reporting and

   engagement in the schemes, and consciously disregarded his duties to protect corporate assets.

   Thus, for these reasons, too, Defendant Krongard breached his fiduciary duties, faces a substantial

   likelihood of liability, is not independent or disinterested, and thus demand upon him is futile and,

   therefore, excused.

          135.    Additional reason why demand on Defendant Mongillo is futile are as follows. The

   Company asserts that Defendant Mongillo is an independent director. Defendant Mongillo is

   beholden to Defendant Icahn. Defendant Mongillo served as a director for CVR Energy, Inc., a

   majority owned subsidiary of Icahn Enterprises. Furthermore, Defendant Mongillo previously

   served as managing director for of Icahn Capital LP from January 2008 until January 2011, and

   director of WestPoint Home, LLC from March 2009 until January 2011, both companies are

   indirectly controlled by Defendant Icahn. Moreover, he served as director of American Railcar

   Industries, Inc. from 2009 until 2011, a company which formerly was indirectly controlled by

   Defendant Icahn. Defendant Mongillo was on the Company’s Board at the time the Company was

   engaged in inflating its net annual value and engaged in the “ponzi-like” dividend scheme. As a

   director, he conducted little if any oversight of the Company’s internal control over public

   reporting of financial statements and of the Company’s engagement in the schemes described

   herein, consciously disregarded his duties to monitor such control over reporting and engagement

   in the schemes, and consciously disregarded his duties to protect corporate assets. Thus, for these

   reasons, too, Defendant Mongillo breached his fiduciary duties, faces a substantial likelihood of



                                                  - 56 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 57 of 69




   liability, is not independent or disinterested, and thus demand upon him is futile and, therefore,

   excused.

          136.    Additional reasons why demand on Defendant Nevin is futile are as follows.

   Defendant Nevin has served on the Board since December 2018 and serves as an executive of an

   Icahn-related entity. Thus, as the Company admits, he is a non-independent director. Defendant

   Nevin was on the Company’s Board while the Company was inflating its net asset value and

   engaged in a “ponzi-like” dividend scheme. Furthermore, Defendant Nevin is beholden to

   Defendant Icahn; Defendant Nevin has served as CFO of Icahn Automotive Group LLC since

   2020. Icahn Automotive LLC is Defendant Nevin’s principal occupation. Defendant Nevin has

   also served as director for Viskase Companies, Inc., which is indirectly controlled by Defendant

   Icahn. Furthermore, Defendant Nevin served as director of Condulent Incorporated, a company in

   which Defendant Icahn has a non-controlling interest. He has also previously served as director

   for Ferrous Resources Ltd., American Railcar Industries, and Federal-Mogul LLC, all of which

   Defendant Icahn previously indirectly controlled. Defendant Nevin has also served as a Managing

   Director at Icahn Enterprises, and a financial analyst at Icahn Enterprises. Lastly, Defendant Nevin

   is the son-in-law of Defendant Icahn. Defendant Nevin was on the Company’s Board at the time

   the Company was engaged in inflating its net annual value and engaged in the “ponzi-like”

   dividend scheme. As a director he conducted little, if any, oversight of the Company’s internal

   control over public reporting of financial statements and of the Company’s engagement in the

   schemes describe herein, consciously disregarded his duty to monitor such control over reporting

   and engagement in the schemes, and consciously disregarded his duties to protect corporate assets.

   Thus, for these reasons, too, Defendant Nevin, breached his fiduciary duties, faces a substantial



                                                  - 57 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 58 of 69




   likelihood of liability, is not independent or disinterested, and thus demand upon him is futile, and

   therefore, excused.

          137.    Additional reasons that demand on the Board is futile follow.

          138.    The Director-Defendants acted intentionally or recklessly in the schemes described

   herein. The Director-Defendants approved of the Company’s press releases containing materially

   false information and/or omissions.

          139.    The Director-Defendants further engaged in or failed to mitigate the schemes to

   inflate the Company’s net asset value, and ponzi-like economic structure.

          140.    As mentioned above, the Director-Defendants were and remain beholden to

   Defendant Icahn, who, through his affiliates, holds approximately 85% of the Company’s

   outstanding depositary units as reported in the 2022 10-K. Moreover, as set forth, the Director-

   Defendants financially rely on Defendant Icahn and his connections and affiliations. For these

   reasons, the Director-Defendants would not be able to respond with appropriate disinterestedness

   in a demand against him and certain of the other Defendants.

          141.    The Director-Defendants, as members of the Board, were and are subject to the

   Code of Ethics. The Code of Ethics goes well beyond the basic fiduciary duties required by

   applicable laws, rules, and regulations. The Code of Ethics requires all employees, officers and

   directors to avoid activities or relationships that conflict with the Company’s interests or adversely

   affect the Company’s reputation. The Director-Defendants did not comply with the requirements

   of the Code of Ethics. The Director-Defendants violated the Code of Ethics because they

   knowingly or recklessly engaged in and facilitated the misconduct alleged herein and participated

   in making and/or causing the Company to make the materially false and misleading statements



                                                   - 58 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 59 of 69




   alleged herein. Because the Director-Defendants violated the Code of Ethics, they face a

   substantial likelihood of liability for breaching their fiduciary duties, and therefore demand upon

   them is futile.

           142.      Furthermore, demand in this case is excused because the Director-Defendants,

   either control the Company or are beholden to each other.

           143.      The Director-Defendants have longstanding business and personal relationships

   with each other and the Individual Defendants that preclude them from acting independently and

   in the best interests of the Company and its unitholders. These conflicts of interest precluded the

   Director-Defendants from adequately monitoring the Company’s operations and internal controls

   and calling into question the Individual Defendants’ conduct. Thus, any demand on the Directors

   would be futile.

           144.      Icahn Enterprises has been, and will continue to be, exposed to significant losses

   due to the wrongdoing complained of herein, yet the Directors have not filed any lawsuits against

   themselves or others who were responsible for that wrongful conduct to attempt to recover for

   Icahn Enterprises any part of the damages Icahn Enterprises suffered, and will continue to suffer,

   thereby. Thus, any demand on the Directors would be futile.

           145.      The Individual Defendants’ conduct described herein and summarized above could

   not have been the product of legitimate business judgment as it was based on bad faith and

   intentional, reckless, or disloyal misconduct. Thus, none of the Directors can claim exculpation

   from their violations of duty pursuant to the Company’s charter (to the extent such a provision

   exists). As a majority of the Directors face a substantial likelihood of liability, they are self-

   interested in the transactions challenged herein and cannot be presumed to be capable of exercising



                                                   - 59 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 60 of 69




   independent and disinterested judgment about whether to pursue this action on behalf of the

   unitholders of the Company. Accordingly, demand is excused as being futile.

           146.   The acts complained of herein constitute violations of fiduciary duties owed by

   Icahn Enterprises GP directors in their capacity as directors of Icahn Enterprises and these acts are

   incapable of ratification.

           147.   The Director-Defendants may also be protected against personal liability for their

   acts of mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’

   liability insurance if they caused the Company to purchase it for their protection with corporate

   funds, i.e., monies belonging to the unitholders of Icahn Enterprise. If there is a directors’ and

   officers’ liability insurance policy covering the Directors, it may contain provisions that eliminate

   coverage for any action brought directly by the Company against the Directors, known as, inter

   alia, the “insured-versus-insured exclusion.” As a result, if the Directors were to sue themselves

   or certain of the officers of Icahn Enterprise and/or Icahn Enterprise GP, there would be no

   directors’ and officers’ insurance protection. Accordingly, the Directors cannot be expected to

   bring such a suit. On the other hand, if the suit is brought derivatively, as this action is brought,

   such insurance coverage, if such an insurance policy exists, will provide a basis for the Company

   to effectuate a recovery. Thus, demand on the Directors is futile and, therefore, excused.

           148.   If there is no directors’ and officers’ liability insurance, then the Directors will not

   cause Icahn Enterprises to sue the Individual Defendants named herein, since, if they did, they

   would face a large uninsured individual liability. Accordingly, demand is futile in that event, as

   well.




                                                   - 60 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 61 of 69




          149.    Thus, for all of the reasons set forth above, all of the Directors, and, if not all of

   them, at least five of them cannot consider a demand with disinterestedness and independence.

   Consequently, a demand upon the Board is excused as futile.

                                                    FIRST CLAIM

                     Against the Individual Defendants for Breach of Fiduciary Duties

          150.     Plaintiff incorporates by reference and re-alleges the foregoing paragraphs one (1)

   through one hundred forty-nine (149) hereinabove, as though fully set forth herein for this

   paragraph one hundred fifty (150).

          151.    Each Individual Defendant owed to the Company the duty to exercise candor, good

   faith, and loyalty in the management and administration of Icahn Enterprises business and affairs.

          152.    Each of the Individual Defendants violated and breached his or her fiduciary duties

   of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

          153.    The Individual Defendants’ conduct set forth herein was due to their intentional,

   reckless, or negligent breach of the fiduciary duties they owed to the Company through their roles

   as officers and directors of Icahn Enterprises GP, as alleged herein. The Individual Defendants

   intentionally, recklessly, or negligently breached or disregarded their fiduciary duties to protect

   the rights and interests of Icahn Enterprises.

          154.    The Individual Defendants had actual or constructive knowledge that the Company

   issued materially false and misleading statements, and they failed to correct those public

   statements and representations. The Individual Defendants had actual knowledge of the

   misrepresentations and omissions of material facts set forth herein, or acted with reckless disregard

   for the truth, in that they failed to ascertain and to disclose such facts, even though such facts were



                                                     - 61 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 62 of 69




   available to them. Such material misrepresentations and omissions were committed knowingly or

   recklessly and for the purpose and effect of artificially inflating the price of Icahn Enterprises’

   securities.

           155.   The Individual Defendants had actual or constructive knowledge that they had

   caused the Company to improperly engage in the fraudulent schemes set forth herein and to fail to

   maintain adequate internal controls. The Individual Defendants had actual knowledge that the

   Company was engaging in the fraudulent schemes set forth herein, and that internal controls were

   not adequately maintained, or acted with reckless disregard for the truth, in that they caused the

   Company to improperly engage in the fraudulent schemes and to fail to maintain adequate internal

   controls, even though such facts were available to them. Such improper conduct was committed

   knowingly or recklessly and for the purpose and effect of artificially inflating the price of Icahn

   Enterprises’ securities and benefitting third parties.

           156.   Also, in breach of their fiduciary duties, the Individual Defendants failed to

   maintain an adequate system of oversight, disclosure controls and procedures, and internal

   controls.

           157.   In yet further breach of their fiduciary duties, during the Relevant Period,

   Defendant Icahn engaged in a lucrative insider sale. Defendant Icahn netted proceeds of

   $10,000,024, while the price of the Company’s common stock was artificially inflated due to the

   false and misleading statements of material fact discussed herein.

           158.   These actions were not a good-faith exercise of prudent business judgment to

   protect and promote the Company’s corporate interests.




                                                   - 62 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 63 of 69




          159.    As a direct and proximate result of the Individual Defendants’ breaches of their

   fiduciary obligations, Icahn Enterprises has sustained and continues to sustain significant damages.

   As a result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

          160.    Plaintiff on behalf of Icahn Enterprises has no adequate remedy at law.

                                           SECOND CLAIM

                       Against Individual Defendants for Unjust Enrichment

          161.    Plaintiff incorporates by reference and re-alleges the foregoing paragraphs one (1)

   through one hundred forty-nine (149) hereinabove, as though fully set forth herein for this

   paragraph one hundred sixty-one (161).

          162.    By their wrongful acts, violations of law, and false and misleading statements and

   omissions of material fact that they made and/or caused to be made, the Individual Defendants

   were unjustly enriched at the expense of, and to the detriment of Icahn Enterprises.

          163.    The Individual Defendants either benefitted financially from the improper conduct,

   including from the receipt of unjustly lucrative bonuses tied to the false and misleading statements,

   or received bonuses, stock options, or similar compensation from Icahn Enterprises that was tied

   to the performance or artificially inflated valuation of Icahn Enterprises, or received compensation

   that was unjust in light of the Individual Defendants’ bad faith conduct.

          164.    Plaintiff, as a unitholder and a representative of Icahn Enterprises, seeks restitution

   from the Individual Defendants and seeks an order from this Court disgorging all profits --

   including from benefits, and other compensation, including any performance-based or valuation-

   based compensation, obtained by the Individual Defendants due to their wrongful conduct and

   breach of their fiduciary and contractual duties.



                                                  - 63 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 64 of 69




          165.    Plaintiff on behalf of Icahn Enterprises has no adequate remedy at law.

                                            THIRD CLAIM

                        Against Individual Defendants for Abuse of Control

          166.    Plaintiff incorporates by reference and re-alleges the foregoing paragraphs one (1)

   through one hundred forty-nine (149) hereinabove, as though fully set forth herein for this

   paragraph one hundred sixty-six (166).

          167.    The Individual Defendants’ misconduct alleged herein constituted an abuse of their

   ability to control and influence Icahn Enterprises, for which they are legally responsible.

          168.    As a direct and proximate result of the Individual Defendants’ abuse of control,

   Icahn Enterprises has sustained significant damages. As a direct and proximate result of the

   Individual Defendants’ breaches of their fiduciary obligations of candor, good faith, and loyalty,

   Icahn Enterprises has sustained and continues to sustain significant damages. As a result of the

   misconduct alleged herein, the Individual Defendants are liable to the Company.

          169.    Plaintiff on behalf of Icahn Enterprises has no adequate remedy at law.

                                          FOURTH CLAIM

                     Against Individual Defendants for Gross Mismanagement

          170.    Plaintiff incorporates by reference and re-alleges the foregoing paragraphs one (1)

   through one hundred forty-nine (149) hereinabove, as though fully set forth herein for this

   paragraph one hundred seventy (170).

          171.    By their actions alleged herein, the Individual Defendants, either directly or through

   aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties with regard




                                                  - 64 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 65 of 69




   to prudently managing the assets and business of Icahn Enterprises in a manner consistent with the

   operations of a publicly held corporation.

          172.    As a direct and proximate result of the Individual Defendants’ gross

   mismanagement and breaches of duty alleged herein, Icahn Enterprises has sustained and will

   continue to sustain significant damages.

          173.    As a result of the misconduct and breaches of duty alleged herein, the Individual

   Defendants are liable to the Company.

          174.    Plaintiff, on behalf of Icahn Enterprises, has no adequate remedy at law.

                                              FIFTH CLAIM

                   Against Individual Defendants for Waste of Corporate Assets

          175.    Plaintiff incorporates by reference and re-alleges the foregoing paragraphs one (1)

   through one hundred forty-nine (149) hereinabove, as though fully set forth herein for this

   paragraph one hundred seventy-five (175).

          176.    As a result of the foregoing, and by failing to properly consider the interests of the

   Company and its public unitholders, the Individual Defendants have caused Icahn Enterprises to

   waste valuable corporate assets, to incur many millions of dollars of legal liability and/or costs to

   defend unlawful actions, and to lose assets from investors and customers who no longer trust the

   Company.

          177.    As a result of the waste of corporate assets, the Individual Defendants are each

   liable to the Company.

          178.    Plaintiff on behalf of Icahn Enterprises has no adequate remedy at law.




                                                  - 65 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 66 of 69




                                       REQUEST FOR RELIEF

          FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

   Individual Defendants as follows:

                  (a)     Declaring that Plaintiff may maintain this action on behalf of Icahn

   Enterprises, and that Plaintiff is an adequate representative of the Company;

                  (b)     Declaring that the Individual Defendants have breached and/or aided and

   abetted the breach of their fiduciary duties to Icahn Enterprises;

                  (c)     Determining and awarding to Icahn Enterprises the damages sustained by it

   as a result of the violations set forth above from each of the Individual Defendants, jointly and

   severally, together with pre-judgment and post-judgment interest thereon;

                  (d)     Directing Icahn Enterprises and the Individual Defendants to take all

   necessary actions to reform and improve its corporate governance and internal procedures to

   comply with applicable laws and to protect Icahn Enterprises and its unitholders from a repeat of

   the damaging events described herein, including, but not limited to, putting forward for unitholder

   vote the following resolutions for amendments to the Company’s partnership agreement and

   management documents and taking the following actions as may be necessary to ensure proper

   corporate governance policies:

                        1. a proposal to strengthen Icahn Enterprises’ Board’s supervision of

                  operations and develop and implement procedures for greater unitholder input into

                  the policies and guidelines of the Board;

                        2. a provision to permit the unitholders of Icahn Enterprises to nominate at

                  least five candidates for election to the Icahn Enterprises. Board; and



                                                  - 66 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 67 of 69




                      3. a proposal to ensure the establishment of effective oversight of compliance

                 with applicable laws, rules, and regulations.

                      4. awarding Icahn Enterprises restitution from Individual Defendants, and

                 each of them;

                      5.   awarding Plaintiff the costs and disbursements of this action, including

                 reasonable attorneys’ and experts’ fees, costs, and expenses; and

                      6.   granting such other and further relief as the Court may deem just and

                 proper.

                                           JURY DEMAND

          Plaintiff hereby demands a trial by jury on all issues so triable.

   Respectfully submitted this 4th day of August, 2023

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          and

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                                                  - 67 -
Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 68 of 69




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                                             - 68 -
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       Case 1:23-cv-22932-XXXX Document 1 Entered on FLSD Docket 08/05/2023 Page 69 of 69




                                                        VERIFICATION

                            I, Patrick Pickney am a plaintiff in the within action. I have reviewed the
           allegations made in this shareholder derivative complaint, know the contents
           thereof, and authorize its filing. To those allegations of which I have personal
           knowledge, I believe those allegations to be true. As to those allegations of which
           I do not have personal knowledge, I rely upon my counsel and their investigation and
           believe them to be true. I declare under penalty of perjury that the foregoing is true and correct.
             7/28/2023       Dated


                                             Patrick Pickney
